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                                                                     FiLEO
                                                               U.S. DISTRICT COURT
                                                                  AUGUSTA D!V.
                     IN THE UNITED STATES DISTRICT COURT
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                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION
                                                             CLERK_^lU^__
                                                                SO. OIST. OF GA.
DEMARCUS WHITAKER,

       Plaintiff,

V.


                                                   CIVIL ACTION
THE BOARD OF REGENTS OF THE
UNIVERSITY SYSTEM OF GEORGIA,
BROOKS KEEL,President ofAugusta
                                                        gV11 8-0141
                                                   filenS.
University, sued in his official and personal
capacities,
JAMES RUSH, ChiefIntegrity Officer                 COMPLAINT
ofAugusta University, sued in his
official and personal capacities,
MICHELE REED, Title IX coordinator
ofAugusta University, sued in her                  JURY DEMAND
official and personal capacities,
GINA THURMAN,Assistant Dean of
Student Life & Enrollment, sued in her
official and personal capacities,
QUINCY BYRDSONG, Vice President of
Academic Planning & Strategic Initiative,
Office ofDiversity and Inclusion, Chief
Diversity Officer, sued in his official and
personal capacities,
DONNA WEAR,Professor ofBiology at
Augusta University, sued in her official and
personal capacities,
ROBERT BOEHMER,President ofEast
Georgia State College, sued in his official
and personal capacities; and
TRACY WOODS,Director ofHuman
Resources/Career Services, Title IX
coordinator ofEast Georgia State College,
sued in her official and personal capacities.

       Defendants.
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                                   COMPLAINT


      Plaintiff DeMarcus Whitaker (hereinafter referred to as "Plaintiff or "Mr.

Whitaker"), as and for his Complaint, respectfully alleges as follows:

                      I. THE NATURE OF THIS ACTION


      1.    This case arises out ofthe actions taken and procedures employed by

Defendants Board ofRegents ("Defendant Board of Regents"), President Brooks

Keel("Defendant Keel"), James Rush ("Defendant Rush"), Michele Reed

("Defendant Reed"), Gina Thurman ("Defendant Thurman"), Quincy Byrdsong

("Defendant Byrdsong"), Donna Wear("Defendant Wear"), President Robert

Boehmer("Defendant Boehmer"), and Tracy Woods("Defendant Woods"),

conceming acts of retaliation, fraud, negligence, conflicts of interest, deceptive

trade practices, malicious prosecution, defamation, deliberate indifference to

gender-based discrimination under Title IX, and breach of contract for violations

of University policy, including incomplete guidance regarding due process rights

ofthe accused during the administrative disciplinary proceedings.

      2.    Title IX officials at Augusta University attempted to have Mr. Whitaker

obtain medical documents from a military medical installation and told him what

to include in a written statement^ in order to give to the investigator of his case
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(Defendant Thurman); who disclosed that she served on the committee that

reviews applications for medical withdrawals from the institution.^

        3.     The plan was a tradeofffor not reporting the investigator for retaliation,

the professor(Defendant Wear)for negligence, and Jane Roe for violating the no-

contact order.^

        4.     Mr. Whitaker refused to obtain and submit the medical paperwork and

stated he would report them for employee misconduct for telling him what to say.

        5.     Defendant Reed and Defendant Thurman pressed a charge ofsexual

harassment against Mr. Whitaker that was later thrown out by the University

hearing panel due to no evidence.

        6.     The initial retaliation started with the investigator intimidating and

exposing Mr. Whitaker's emails for his professor to see after ending his interview

when he reported the professor for not changing the lab groups after she had been

directed to by the Title IX coordinator; selectively enforcing the no-contact order

by refusing to charge Jane Roe for violating it after Jane Roe admitted to the acts

and the professor admitted to witnessing the acts; and the not considering

information that Mr. Whitaker offered concerning Jane Roe continuing to contact




^ See infra HH 143-144.
^ Plaintiff refers to Jane Roe pseudonymously.
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him after she had claimed that he harassed her and not interviewing all of his

witnesses.


      7.     This medical withdrawal would have removed Mr. Whitaker from the

class without penalty, as withdrawing after midterm would have resulted in a

failing grade in the course.

      8.     Mr. Whitaker filed an academic grievance for the professor's

negligence, deliberate indifference, and selective enforcement ofthe no-contact

order; of which he received a failing grade after ceasing to attend the class due to

the hostile environment.


      9.     The investigator, as well as the Title IX officials at Augusta University,

charged Mr. Whitaker with an unfounded allegation ofsexual harassment that was

not supported with a rationale, backdated reports, omitted information that he

offered from their reports, questioned one of his five witnesses, changed their

reasons for charging him, gave false and misleading statements while under oath

against him, refused to abide by the investigative procedures outlined in the

handbook, included and factored in a prior 'previous complaint' made against Mr.

Whitaker without his consent(as required in the handbook)in which he was never

charged or found responsible, attempted to obstruct his challenge for bias against

them, and provided misleading information to staff who considered his academic

grievance.
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       10.      The investigator(Defendant Thurman)also served as the supervisor of

the 'Student Counseling and Psychological Services' department; of which Jane

Roe stated that she received counseling from Augusta University.

        11.     The Title IX coordinator(Defendant Reed)sent a copy ofthe no-

contact order to the wrong biology professor, which outlined the details of how the

two students were to be separated and that no communication was allowed.

        12.     Defendant Reed stated that she verbally conveyed the nature ofthe no-

contact order to the professor despite her not receiving a copy of it; in which the

no-contact letter reads that the professor will receive a copy.

        13.     Defendant Reed stated that she lost the cell phone that she had present

during meetings with Mr. Whitaker and corresponded with about sending up

names ofstudents who had knowledge of Defendant Wear not changing the lab

groups.


        14.     During the hearing, Defendant Reed stated that the text messages

between herself and Mr. Whitaker were not about sending the names of students

who could attest that the groups had not been changed by the professor.

        15.     Defendant Reed stated that the police were tracking down her cell

phone and said,"I have no idea," when questioned by Mr. Whitaker as to what

happened to it.^


 See infra H 181.
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      16.   Defendant Reed and Defendant Rush told Mr. Whitaker that they did

not record any interviews and were advised against recording when Mr. Whitaker

asked about documentation of his previous interviews with them.

      17.   The handbook states,"the investigator should retain written notes

and/or obtain written or recorded statements from each interview."

      18.   Defendant Reed could not provide Mr. Whitaker with clear grounds

for why Defendant Thurman found him responsible for sexual harassment when

Mr. Whitaker asked her.

      19.      Defendant Reed told Mr. Whitaker that not responding to Defendant

Thurman's report meant that she would go by what was written in the report

against him.

      20.      The handbook states,"If respondent has not otherwise responded, a

non-written response will be considered a general denial ofthe alleged

misconduct."


      21.      Defendant Reed and Defendant Thurman changed the reasons for why

Mr. Whitaker was charged after Jane Roe could not obtain the text message

correspondence between them alleging that she informed him to cease

communicating with her; Defendant Reed stated that Mr. Whitaker was charged

because of his "identifying behavior, words, and actions" when questioned at the
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hearing by the Chairman and stated "no," when questioned as to whether she

considered that 'profiling."^

       22.      Jane Roe never informed Mr. Whitaker to cease texting her and

initiated texts for him to come study with her in the evenings in which he declined

twice; two days later, Jane Roe filed a claim ofsexual harassment and non-

consensual touching against Mr. Whitaker.

        23.     Mr. Whitaker filed a challenge for bias against Defendant Reed and

Defendant Thurman which was investigated by Defendant Woods,the Title IX

coordinator/Human Resources director at East Georgia State College.

        24.     Defendant Thurman backdated and altered her investigative report

after the challenge for bias was made against her without Mr. Whitaker's consent

or foreknowledge.

        25.     Defendant Woods returned a finding of no bias existing in either the

investigator or coordinator without including a basis for her decision or a critical

analysis ofthe facts presented by Mr. Whitaker.

        26.      Mr. Whitaker requested a more thorough explanation of how

Defendant Woods reached her findings and she wrote back that she would be




 See infra HI) 183-186.

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sending him the information he requested, as well as the officials at Augusta

University promising that he would receive that information.^

        27.     Defendant Woods never sent the information that she, and the

University, promised Mr. Whitaker would receive on how she reached her

decision.


        28.     Regarding the bias review and investigation, Mr. Whitaker reported a

conflict of interest existing between Augusta University and East Georgia State

College that compromised the process in that the two universities formed a

partnership in August of 2013 that allows for the mutual sharing offinancial assets

and resources.


        29.      Augusta University officials acknowledged the partnership and stated

that Defendant Woods was selected because it was 'the most convenient for the

University.'

        30.      Defendant Reed and Defendant Thurman made statements that

favored the female complainant above him and presented information during the

hearing that Mr. Whitaker did not know was going to be said against him.

        31.      Defendant Wear exposed Defendant Reed,Defendant Thurman, and

Jane Roe's false statements when cross-examined at the hearing; in which the three

parties attempted to state that Jane Roe requested for the lab groups to be changed.


 See infra 1111191-192.

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 when Mr. Whitaker was the one that requested the 'interim measure' on the day of

 finding out about the allegation.^

         32.     The University hearing panel did not uphold the charge of sexual

 harassment against Mr. Whitaker due to no evidence being presented to merit the

 charge against him.''

         33.     The hearing panel neglected to address the issue offalse and

 inconsistent statements presented by Jane Roe, Defendant Thurman, and Defendant

 Reed given under oath.

         34.     The handbook states,"Any person found to have intentionally

 submitted false complaints, accusations, or statements, including during a hearing,

 in violation of this policy shall be subject to disciplinary action."

         35.     After the hearing panel found Mr. Whitaker 'Not Responsible,' the

 investigator who charged the Plaintiff, Defendant Thurman, relinquished her duties

 as a volunteer Title IX investigator after working in the area for six years.

         36.         Mr. Whitaker submitted a counterclaim against Jane Roe for violating

 the no-contact order during class which the Title IX office acknowledged Jane Roe

  did violate, yet dismissed his claim without investigating it after he had submitted

 evidence to them.




® See infra H 214.
' See infra H 215.

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      37.     Jane Roe also received the no-contact order that states,"Failure to

comply with this request may result in action by Augusta University through the

Sexual Misconduct Policy."

      38.     Defendant Byrdsong was assigned to investigate Mr. Whitaker's

counterclaim and left the University without informing Mr. Whitaker that he had

abandoned his complaint.

      39.     Jane Roe was allowed to graduate after making false statements

during the hearing, violating the no-contact order, and admitting to academic

dishonesty.

      40.     The head ofthe Title IX office (Defendant Rush)stated that Jane Roe

did violate the no-contact order, yet did not pursue disciplining her for it, denied

Mr. Whitaker a hearing (in the handbook), and gave false information regarding

pursuing any charges against her during follow-up meetings; that she was out of

the University's jurisdiction because she had graduated, yet the handbook says

otherwise.


      41.     Defendant Rush did not inform Mr. Whitaker that he had taken

authority over investigating his complaint.

      42.     Defendant Rush is not a Title-IX investigator, but serves as a lawyer

for the University.




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      43.   Defendant Rush stated that he was a Title IX designee,' which

changed to a Title IX coordinator' for Mr. Whitaker's counterclaim due to his

claims of bias against Defendant Reed and Defendant Thurman; however,

Defendant Reed is the only recognized Title IX coordinator at Augusta University

by the Board of Regents ofthe University System of Georgia.

      44.    Defendant Rush ended Mr. Whitaker's counterclaim by sending a

back-dated letter that stated there was 'insufficient information.'

      45.    Defendant Rush was not able to produce the documents that Mr.

Whitaker submitted to Defendant Byrdsong that included admissions

acknowledging the violation ofthe no-contact order by Jane Roe and the professor

and correspondence by Defendant Reed promising Mr. Whitaker that she would

follow up with Jane Roe to ensure there's no-contact.

      46.    Defendant Rush stated that the professor(Defendant Wear) was

concemed about her safety and that he may have been 'driving by her house.'

      47.    Defendant Wear did not state any apprehension towards Mr. Whitaker

during the hearing, of which Mr. Whitaker called and questioned her as a witness.

      48.    Defendant Rush stated the allegation during a meeting with Mr.

Whitaker after refusing to answer questions concerning the dismissal of his

counterclaim and telling him,"If you're gonna sue us, sue us,""I don't think your

divorce has anything, necessarily, to do with this case,""Okay, get real. Really?


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Please, do me a favor, get real. Um,if you have fifty questions you wanna ask me,

do me a favor—, and we're gonna end this meeting now because I get to do that,"

"It's the biggest issue for you, right now, in your life. It's not necessarily my

biggest issue, right now," and telling him,"Whatever rights you have, please go

forward. Godspeed. Do it."

       49.     Throughout the investigative process. Defendants failed to abide by

Augusta University's and the Board of Regents ofthe University System of

Georgia's own guidelines and regulations and acted in direct violation offederal

and/or state law.


       50.     Mr. Whitaker requested Title IX training records ofthe personnel

involved in his investigation and only received information from Defendant Woods

from East Georgia State College; Augusta University stated they did not retain

training records on their personnel.

       51.     Due to the deliberate indifference of University officials to the gender-

based peer harassment ofJane Roe repeatedly violating the no-contact order and

refusing to effectively address the issue, Mr. Whitaker was deprived of educational

opportunities by having to drop out ofthe class in which he attended with Jane Roe

due to anxiety leading to back spasms, divorced from his wife due to the false

allegations on March 14, 2017, and ceased attending the University due to

retaliation.



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      52.    Plaintiff therefore brings this action to obtain relief based on causes of

action for violations of Title VI ofthe Civil Rights Act of 1964, Title IX ofthe

Education Amendments of 1972, violation of procedural and substantive due

process rights, conflicts of interest, breach of contract, conspiracy against rights,

retaliation, fraud, defamation, and other state law causes of action.



                        IL JURISDICTION AND VENUE


      53.    The Court has federal question and supplemental jurisdiction pursuant

to 28 U.S.C. § 1331 and 28 U.S.C. §1367 because (i) Mr. Whitaker's claims arise

under the United States Constitution, brought pursuant to 42 U.S.C. § 1981,42

U.S.C. § 1983, and under the laws ofthe United States, including Title VI ofthe

Civil Rights Act of 1964,42 U.S.C. § 2000d, Title IX ofthe Education

Amendments of 1972, 20 U.S.C. §§ 1681-1688, and 42 U.S.C. § 1985 and (ii) the

state law claims are so closely related to the federal law claims as to form the same

case or controversy under Article III ofthe United States Constitution.

       54.   This Court has personal jurisdiction over Defendant Board of Regents

on the grounds that it is conducting business within the State of Georgia and is the

governing body of Augusta University and East Georgia State College.




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      55.   This Court has personal jurisdiction over Defendant Keel on the

grounds that he was acting as an agent of Augusta University at all relevant times

herein.


      56.   This Court has personal jurisdiction over Defendant Rush on the

grounds that he was acting as an agent of Augusta University at all relevant times

herein.


      57.   This Court has personal jurisdiction over Defendant Reed on the

grounds that she was acting as an agent of Augusta University at all relevant times

herein.


      58.    This Court has personal jurisdiction over Defendant Thurman on the

grounds that she was acting as an agent of Augusta University at all relevant times

herein.


      59.    This Court has personal jurisdiction over Defendant Byrdsong on the

grounds that he was acting as an agent of Augusta University at all relevant times

herein.


      60.    This Court has personal jurisdiction over Defendant Wear on the

grounds that she was acting as an agent of Augusta University at all relevant times

herein.




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      61.        This Court has personal jurisdiction over Defendant Boehmer on the

grounds that he was acting as an agent of East Georgia State College at all relevant

times herein.




       62.       This Court has personal Jurisdiction over Defendant Woods on the

grounds that she was acting as an agent ofBast Georgia State College at all

relevant times herein.


       63.       The Court is authorized to award the requested declaratory relief

under the Administrative Procedure Act and the Declaratory Judgment Act, 5

U.S.C. § 706,28 U.S.C. §§ 2201-2202, and is authorized to award the requested

injunctive relief under 28 U.S.C. § 1361 and the Federal Rules of Civil Procedure

57 and 65.


       64.       Venue properly lies in this Court under 28 U.S.C. § 1391(b)(2)

because a substantial part ofthe events giving rise to this action occurred within

this district.




                                   III. THE PARTIES


       65. Plaintiff DeMarcus Whitaker is an African-American, and at all times

relevant to this Complaint, has been a citizen ofthe State of Georgia and served in

the U.S. Army Reserve. From January 4, 2016,to December 15, 2016, Mr.


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Whitaker was an undergraduate student at Augusta University. Mr. Whitaker

resides at 1008 Fox Den Rd, Hephzibah, GA 30815 and can be contacted at

dwhitaker279@gniail.com / Telephone:(706)877-0482.

      66.   Defendant Board of Regents ofthe University System of Georgia (the

"Board of Regents") oversees the 30 colleges and universities, including Augusta

University and East Georgia State College, that comprise the University System of

Georgia. Pursuant to Georgia law,the Board of Regents is the legal entity that

must sue, or can be sued, in the place of Augusta University and East Georgia State

College. Accordingly, the Board of Regents is the legal entity responsible for any

acts or omissions by Augusta University. The Board of Regents can be contacted

at Board of Regents ofthe University System of Georgia, Vice Chancellor ofLegal

Affairs, Edward Tate, 270 Washington Street, SW,Atlanta, GA 30334(usg-

legal@usg.edu / Telephone:(404)962-3255)

      67.    Augusta University and East Georgia State College are recipients of

federal funding.

      68.    Defendant Keel is the president of Augusta University and has the

responsibility of overseeing the overall functioning ofthe university. His office is

located in Augusta, Georgia, and, upon information and belief, he resides in the

Southern District of Georgia, (president@augusta.edu / Telephone:(706)721 -

2301)


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      69.   Defendant Rush has the title of ChiefIntegrity Officer at Augusta

University and works in the Office of Compliance and Enterprise Risk

Management. Defendant Rush's responsibilities include overseeing policies and

procedures, HIPPA,extemal audits, as well as the Title IX office. His office is

located in Augusta, Georgia, and, upon information and belief, he resides in the

Southern District of Georgia, (irush@augusta.edu / Telephone:(706)721 - 1626)

      70.   Defendant Thurman is the Assistant Dean of Student Life &

Enrollment, Student Counseling and Psychological Services Supervisor, Office of

Testing and Disability Services Supervisor, Campus Assessment Response and

Evaluation Team Chairperson, Deputy Title IX coordinator. Title IX investigator.

Upon information and belief. Defendant Thurman became the Title IX coordinator

at Augusta University in 2011 and a Title IX investigator in 2016, when Defendant

Reed was hired. Her office is located in Augusta, Georgia and, upon information

and belief, she resides in the Southern District of Georgia. (gthurman@augusta.edu

/ Telephone:(706)737- 1411)

      71.    Defendant Reed is the Title IX coordinator for students at Augusta

University. She works in the Office of Compliance and Enterprise Risk

Management under Defendant Rush. Her office is located in Augusta, Georgia

and, upon information and belief, she resides in the Southern District of Georgia.

(micreed@augusta.edu / Telephone:(706)721 -0901)


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      72.    Defendant Byrdsong is the Vice President of Academic Planning &

Strategic Initiative, Office of Diversity and Inclusion, and Chief Diversity Officer.

Defendant Byrdsong was assigned as the Title IX investigator to investigate Mr.

Whitaker's claims of harassment. His office is located in Augusta, Georgia and,

upon information and belief, he resides in the Southern District of Georgia.

(qbvrdsong@augusta.edu / Telephone:(706)721 -9272)

      73.    Defendant Wear is a professor of biology at Augusta University.

Defendant Wear witnessed the violations ofthe no-contact order by Jane Roe. Her

office is located in Augusta, Georgia and, upon information and belief, she resides

in the Southern District of Georgia. (dwear@augusta.edu / Telephone:(706)667-

4168)

      74.    Defendant Boehmer is the president of East Georgia State College and

has the responsibility of overseeing the overall functioning ofthe university. His

office is located in Swainsboro, Georgia, and, upon information and belief, he

resides in the Southern District of Georgia, (president@ega.edu /(478)289-

2027)

      75.    Defendant Woods is the Human Resources Director and Title IX

coordinator at Bast Georgia State College. Defendant Woods was assigned to

review Mr. Whitaker's claims of bias against Defendant Reed and Defendant

Thurman. Her office is located in Swainsboro, Georgia and, upon information and


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belief, she resides in the Southern District of Georgia, (twoods@ega.edu /

Telephone:(478)289- 2035)



       IV. FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS


      76.    Mr. Whitaker re-enrolled at Augusta University in January of2016

seeking his undergraduate degree in Biology before applying for the Physician

Assistant program after being away for five years and serving on active duty in the

U.S. Army.

      77.    Mr. Whitaker and Jane Roe shared the same biology class in Fall 2016

under professor Dr. Wear(Defendant Wear),in which lecture was held on

Mondays and Wednesdays at 1:00 pm - 2:15 pm and the one lab during the week

was held on Tuesdays at 1:00 pm - 2:50 pm.

      78.    Jane Roe chose to sit next to Mr. Whitaker on the first day of biology

lab for the Fall 2016 semester on August 23,2016 and was their first time ever

meeting each other.

      79.    Defendant Wear assigned locker combinations to all students

including Mr. Whitaker and Jane Roe on the day of August 23,2016.

      80.    Mr. Whitaker, Jane Roe, and the other two male lab members

exchanged contact information for the purpose of studying; of which this was Jane

Roe's second time taking the course.

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      81.    On September 15,2016 and September 18,2016, Jane Roe sent the

other two lab members two texts within the group praising Mr. Whitaker's ability

to explain a concept after studying in the cafeteria:

      "Marcus explained it to me. Ask him. To explain it to you. I understand it
      now." 5:02 PM,MMS +**********2,09/15/2016 Thu
      "Tbh I'm not sure Marcus might be able to answer." 11:07 PM MMS
      +**********2,09/18/2016 Sun

      82.    Jane Roe alleged that Mr. Whitaker sexually harassed her on

September 15,2016 while studying in the cafeteria around 3:00 pm; yet, the first

message praising Mr. Whitaker was sent two hours after she alleged that he

harassed and touched her and the second message was sent three days later.

      83.    Mr. Whitaker made this inconsistency known to Defendant Thurman

and Defendant Reed, yet the information was omitted from Defendant Thurman's

investigative reports.

       84.   Defendant Thurman admitted in an email to Mr. Whitaker on January

17, 2017 that she did omit information from her reports:

      "I did omit summaries ofsome of mv meetings with both vou and the
       Complainant. I have added that information now."
      (emphasis added.)

       85.   During the hearing on May 8, 2017, Defendant Thurman stated, under

oath, that she did not omit information from her first report, despite admitting it on

January 17,2017:


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      Joel Wright: Did you omit any information related to the case from your
      first findings report?
      Gina Thurman: No,I didn't omit any information.

      86.   Jane Roe sent text messages to Mr. Whitaker asking him to come

study in the evenings on September 27,2016 at 6:52:20 pm and the next day on

September 28,2016 at 6:46:27 pm.

      87.   Mr. Whitaker declined both offers to come study by Jane Roe.

      88.   Two days later on September 30, 2016, Jane Roe reported to the

professor(Defendant Wear)that Mr. Whitaker had sexually harassed and touched

her without her consent.


      89.   During the hearing on May 8, 2017, Jane Roe stated that she never

initiated any text messages to Mr. Whitaker and that he texted her, excessively.

      90.   The text message records indicated that the text messages were mutual

and Jane Roe sent texts to Mr. Whitaker eighteen times while Mr. Whitaker sent

fourteen text messages.

      91.   Defendant Wear sent the report ofthe allegation by Jane Roe to the

Title IX coordinator(Defendant Reed)on September 30,2016.

      92.   Defendant Wear stated that she never witnessed any inappropriate

behavior between the two students during the hearing on May 8, 2017.



 Mr. Whitaker and Jane Roe Both Receive a Copy of the No-Contact Order.

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      93.   Defendant Reed emailed a notice ofthe alleged incident to Mr.

Whitaker on October 13,2016, which included a no-contact order that was sent to

Jane Roe.


      94.   Defendant Reed copied the wrong biology professor on both the

'notice ofthe alleged incident' and the 'no-contact order' emails; Defendant Wear

did not receive the copies.

      95.   Mr. Whitaker was not aware that Jane Roe had made an allegation

against him until he met with Defendant Reed on October 25, 2016 due to not

checking the institutional email; the primary email system that he used was

'Desire2Leam' for completing assignments.

      96.   A hold was placed on Mr. Whitaker's account on October 20,2016

due to his lack of response to the allegation; the sexual misconduct policy does not

state that a hold may be placed on the respondent's account due to not responding

and the handbook states, "If respondent has not otherwise responded, a non-written

response will be considered a general denial ofthe alleged misconduct."

      97.    Jane Roe continued working with Mr. Whitaker until October 25,

2016 when Mr. Whitaker was made aware ofthe allegation against him and

demanded that their lab groups be changed.




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      98.    Jane Roe made her allegation to Defendant Thurman on October 3,

2016, yet the lab groups were not changed until after Mr. Whitaker met Defendant

Reed on October 25, 2016.

      99.    Defendant Reed had Mr. Whitaker removed from his ROTC class at

11:00 am on October 25,2016 in order to respond to the alleged incident; the

handbook does not state that removing the respondent from their class will occur if

they have not responded to the allegation.

      100.    Mr. Whitaker jumped out of his seat when he was made aware ofthe

allegation against him by his lab partner and did not go directly back to his ROTC

class after the interview.


      101.    Mr. Whitaker stated that he would meet with both Defendant Reed


and Defendant Thurman at Bellevue Hall on the Augusta University campus at

3:00 pm after his biology class to respond to the allegation.

      102.    Mr. Whitaker demanded that Defendant Reed contact the biology

professor(Defendant Wear)to change the lab groups before he went to the class at

1:00 pm.

      103.    Defendant Reed called Defendant Wear and told her to change the

lab groups at the request of Mr. Whitaker.




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  Jane Roe Speaks to Mr. Whitaker Three Times after the No-Contact Order

                    and the Investigator Refuses to Charge her.

      104.      Defendant Wear directed each student in the biology lab where to sit

at the beginning of class on October 25, 2016.

       105.     Defendant Wear did not assign new locker combinations to Mr.

Whitaker or Jane Roe; Defendant Wear had all of the combinations to each locker

at each seat.


       106.     Jane Roe spoke to Mr. Whitaker on October 25,2016 while he was

taking a picture ofthe plants they had planted earlier in the semester and stated,

"Those are not our plants, these are."

       107.     Mr. Whitaker did not respond to Jane Roe and Defendant Wear

walked from across the classroom near them.


       108.     There was no lab class on the schedule for the following week.

       109.     Jane Roe spoke to Mr. Whitaker the second time after the no-contact

order on November 8,2016 when Mr. Whitaker asked another lab member which

assignment they were working on and Jane Roe responded to him before the other

lab member could respond.

       110.     Defendant Wear stated that she heard Jane Roe speak to Mr.

.Whitaker, yet no action was taken, nor were the groups changed.




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        111.   Defendant Thurman justified Jane Roe speaking to Mr. Whitaker

after the no-contact order by stating in an email on November 30, 2016 to Mr.

Whitaker that the contact occurred 'under the supervision of class-related

material:'


        "If{Redacted) contacted you while the No Contact Letter was in place,
        outside of the supervision ofthe class and class related material, you will
        need to provide with the specific dates, time and content ofthe contact.
        Again,(Redacted) and Dr. Wear have stated that she did respond to one of
        vour questions in lab after no one else answered the question. If you have
        evidence of other instances, please let me know."
      (emphasis added.)

        112.   No provision in the no-contact order allowed for contact to be made

by either party during class or under the supervision of class-related material.

        113.   The hearing on May 8, 2017 was chaired by Joel Wright, the Title IX

coordinator from Georgia Southern University, in which Defendant Thurman

stated that someone else besides Mr. Whitaker had asked the question, despite

acknowledging that Mr. Whitaker asked the question in the email on November 30,

2016:


        Joel Wright: Did vou follow up with her to ensure that she did not contact
        him?

        Gina Thurman: I did. She had previousIv disclosed that to me and I shared
        that with him, um,that she had spoken, in class, when he-, another student
        was asking a question, um,and no one answered, that she gave the answer to
        the question, in class, um,I also followed back up with her and with the
        department chair, um,to investigate that claim.



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      Joel Wright: So, did the complainant admit to speaking to the respondent
      after the No-Contact Directive had been issued?

      Gina Thurman: Um,she only admitted to speaking to him in class, when
      another member ofthe class that was seated at--, near them asked a question
      and no one answered, she gave the answer to the question which was
      something related to the classwork, nothing personal.
     (emphasis added.)

      114.   Mr. Whitaker reported the incident to Defendant Thurman and

Defendant Reed on November 8, 2016 and they assured him that they would

follow up with Jane Roe to ensure there was no contact; in which Defendant Reed

wrote back on November 10, 2016:

      Good morning DeMarcus,
      Gina and I will consult today and follow up with you regarding next steps. In
      the meantime we will also follow up with (Redacted)to ensure there's no
      contact.

      Mv understanding from Professor Ware was that she modified the groups as
      soon as I was able to meet with vou to inform vou ofthe letter of no contact.

      Either Gina or I will be in touch with you as soon as possible to schedule a
      follow-up meeting as soon as we can gather more information.
      Thank you,
      Michele

     (emphasis added.)

      115.   Jane Roe spoke to Mr. Whitaker the third time on November 15,

2016 by asking him for the weight of a plant; Mr. Whitaker did not respond to her.




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      116.    The day prior to speaking to Mr. Whitaker, Jane Roe made a written

statement against Mr. Whitaker to Defendant Thurman on November 14,2016,

stating that she was uncomfortable working with him.

      117.    Defendant Wear acknowledged hearing Jane Roe speak to Mr.

Whitaker the third time during the hearing; Defendant Wear did not separate the

two students this day, as she had done on October 25,2016 after speaking to

Defendant Reed.


      118.    Defendant Wear stated that 'all that was stated was a weight' at the

hearing on May 8, 2017, regarding the third time Jane Roe spoke to Mr. Whitaker

after the no-contact directive.


      119.    Mr. Whitaker ceased attending the class the following week due to

heart problems caused by anxiety and demanded to meet with Defendant Reed and

Defendant Thurman to report Jane Roe continuing to speak to him after the no-

contact order. Defendant Wear not changing the groups, and Defendant Wear's

treatment towards him after the allegation was made.

      120.    Mr. Whitaker brought forward concerns about Defendant Wear

treating him differently in that she complimented a white male sitting next to him

in class on his business dress attire and ignoring Mr. Whitaker as they were sitting

right by each other wearing similar clothes; in addition to not interacting with Mr.




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Whitaker and giving him a look that made him feel uncomfortable when she came

into the classroom early.

         121.   Mr. Whitaker reported that Defendant Wear became more hostile in

the classroom after the allegation against him and began using curse words during

class that she did not use before.




         Mr. Whitaker Offered the Names of Five Students to be Interviewed by

                Defendant Thurman, but She Only Interviewed One.

         122.   Mr. Whitaker met with Defendant Reed at her office on November

21,2016 to give the names of witnesses who saw Jane Roe speaking to Mr.

Whitaker and noticed that Defendant Wear did not change the lab groups;

Defendant Reed responded by saying,"Wow," when Mr. Whitaker brought up the

issue.


         123.   Defendant Reed attempted to contact one ofthe students that Mr.

Whitaker provided but did not receive a response:

         "I tried to call(Redacted)to get his perspective on the groups, he didn't
         answer the call and there's no voice mail set up." NOV 21, 2016, MON
         12:04 PM,+7068292375 (Michele Reed)
         "Hi DeMarcus, yes, she is on vacation this week and out ofthe office until
         next Monday.I would send her another email to request an appt for early
         next week. Since a commettee reviews a Hardship withdraw, you will need
         to put into writing the examples of Dr Wares behavior that you believe are
         retaliation, names ofthe people who can make statements to the University
         that the groups are the same and were not modified, along with their contact

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     information for the committee to follow up. Hope this is helpful. Michele"
     NOV 22,2016, TUE 1:37 PM,+7068292375 (Michele Reed)
     "Document vour information and see where things go and if you wish to
     explore options with Chair of Department I'm sure you can do that on your
     own as well." NOV 22,2016, TUE 3:47 PM,+7068292375 (Michelle
     Reed)
     (emphasis added.)

      124.   Under oath at the hearing. Defendant Reed stated that her text

messages between Mr. Whitaker were not about the lab groups:

      Joel Wright: Did any ofthose messages or phones contain messages that
      were related to lab groups not being changed?
      Michele Reed: No.


      125.   The handbook states that all witnesses offered by both the

complainant and the respondent will be interviewed.



    Mr. Whitaker Cited that the Retaliation started after he reported the

     Professor failing to Change the Lab Groups to Defendant Thurman.

      126.   Mr. Whitaker sent a request to meet with Defendant Thurman on

November 22, 2016 to discuss withdrawing from the course and she responded on

November 26,2016, by writing:

      Hi DeMarcus,

      Thank you for your email. Do you have some time early next week so that
      you and I can meet to discuss your concerns? I spoke to Dr. Wear and she
      told me that she changed the groups after sneaking with Ms. Reed but that
      you and {Redacted) were still working together some. She told me that when
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     vou asked the question to (Redacted), she heard the question and she heard
     (Redacted, Jane Roe^ answer when (Redacted) did not respond. I will check
      with her this week to see where {Redacted, Jane Roe) was in proximity to
      you when you asked the question. Is that the only contact that {Redacted,
      Jane Roe)has had with you since the No Contact Letter was put into place?

      If vou are still interested in withdrawing from the class, please let me know
      so that we can discuss your options.

     (emphasis added.)

      127.   Defendant Thurman denied knowing about Mr. Whitaker's request to

have the lab groups changed and stated to third parties on March 16,2016,"I am

not aware of any accommodation for Mr. Whitaker that was made in regard to the

investigation."

      128.    Mr. Whitaker met with Defendant Thurman at her office on

November 28,2016 to discuss withdrawing from the course due to his heart

problems caused by the anxiety of Jane Roe violating the no-contact order and

Defendant Wear's differential treatment after the allegation was made.

      129.    Defendant Thurman gave Mr. Whitaker a 'Hardship Withdrawal'

form, which removes a student from all ofthe classes they are taking.

      130.    Defendant Thurman ended the meeting when Mr. Whitaker brought

up the issue that Defendant Wear did not follow through with changing the lab

groups as instructed by Defendant Reed.




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      131.    Mr. Whitaker followed up the meeting with Defendant Thurman by

sending an email on November 30,2016, offering the names of other students who

had knowledge that the groups were not changed by Defendant Wear.



Defendant Thurman Exposed Mr. Whitaker's Email for the Professor to See.

      132.    Defendant Thurman responded the same day by removing her

supervisors from the email and copying Defendant Wear to be able to read what

Mr. Whitaker had written.

      133.    Defendant Thurman told Mr. Whitaker that saying that the professor

'looked at him differently' during class was not proof of retaliation:

      "As I mentioned yesterday, stating that she looked at vou
      differentlv does not meet that criteria under the policv. unless vou have
       proof."

      (emphasis added.)

       134.      However, Defendant Thurman used Jane Roe's statement that Mr.

Whitaker would look at her during class against Mr. Whitaker to third parties who

considered his academic grievance on March 16, 2017 without proof, yet told Mr.

Whitaker that he needed proof in order to make the same claim:

      "I also later met with the Complainant who shared that she found Mr.
       Whitaker looking at her during the class."

      (emphasis added.)




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      135.    Defendant Thurman wrote that filing a false claim against Defendant

Wear could be considered retaliation on Mr. Whitaker's part.

      "I would like to remind you that filing a false claim against Dr. Wear for her
      participation in this process might also be considered retaliation and she
      might be able to file a claim or argue that you are retaliating against her."

      136.    Defendant Thurman never told Mr. Whitaker that filing a false claim

against Dr. Wear could be considered retaliation prior to this email; of which Mr.

Whitaker reported this email as a threat against reporting the professor to

Defendant Rush and Defendant Reed on December 6, 2016.

      137.    Defendant Wear was able to read everything that Defendant

Thurman wrote and Mr, Whitaker's previous email.

      138.    Mr. Whitaker told Defendant Thurman that he was uncomfortable

with her exposing his email for Defendant Wear to see.

      139.    Defendant Thurman apologized to Mr. Whitaker for exposing his

email and wrote back:


      "I apologize for sharing information with others that vou did not want
      disclosed. However, you have requested a withdrawal from Dr. Wear's class
      and University Policy requires the professor's agreement with any grade
      other than a    after midterm. We are unable to respond to your request
      without input from Professor Wear."
      (emphasis added.)


 Defendant Thurman Instructed Mr. Whitaker to Provide Her with Medical

       Documentation to be Withdrawn from the Class without Penalty.

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      140.      After Defendant Thurman exposed Mr. Whitaker's email for

Defendant Wear to see, she offered him a way to get out ofthe class without

penalty on December 5, 2016, if he had been to 'counseling regarding his ability to

concentrate':


      "Have vou been to Counseling or sought any assistance with vour inability
      to concentrate or attend class? As I mentioned before, we will need some
      type of documentation before we can seek any type of withdrawal for you."
      (emphasis added.)

      141.      Prior to exposing Mr. Whitaker's email for the professor to see.

Defendant Thurman stated on November 30, 2016, that she would not be able to

offer him a withdrawal from the class:

      "Based on what you have provided I cannot ask for a withdrawal from the
      course. Dr. Wear has stated that she is not willing to allow you
      to withdraw at this time. You have also not contacted her to ask for a
      withdrawal. At this point in the semester, a withdrawal will result
      in a WF for the course, unless Dr. Wear and her Department Chair approve a
      different grade. I would advise you to try to complete the
      course."


      142.      Mr. Whitaker met with Defendant Reed and Defendant Rush on

December 6, 2016, who both stated that the investigator(Defendant Thurman)

wore 'quadruple hats' and to give her the medical documentation:

      Michele Reed: Right, so one is-, and unfortunately—. I don't want to say
      unfortunately. Gina wears double, triple, quadruple hats, okay?

      James Rush: Quadruple.
      DeMarcus: Um-hm.



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      Michele Reed: And the role of an Associate Dean is to be on a committee to
      make decisions for these witness situations.

      (emphasis added.)

      143.    Defendant Reed advised Mr. Whitaker on what to write when he

goes to see a physician for medical documentation to give to Defendant Thurman:

      Michele Reed: And-, and another suggestion is. as vou're writing vour
      summary about how the situation has impacted vou...
      DeMarcus: Um-hm.

      Michele Reed: write about how the situation has impacted you.
      DeMarcus: Um-hm.

      Michele Reed: I guess, when vou*re writing it. trv not to point the blame at
      somebodv else.

      DeMarcus: Okay.
      Michele Reed: Okay. Because, again, vou wanna sav. okav. an allegation
      came up, Tm going through this process, and it is making me feel x. v, and
      z...


      DeMarcus: Um-hm.

      Michele Reed: But, what you don't want to do again is, like, um, uh,
      continue to—, well, not continue to—, to just—,I guess what I'm saving is just
      speak from vour heart, speak to how vou feel and, um. vou know, um. get
      supporting documents to go with that.
      (emphasis added.)

       144.   Defendant Thurman disclosed to Mr. Whitaker on January 4, 2017

that she served on the committee that reviews medical withdrawals as an additional

job responsibility:

      "As another part of mv iob responsibilities. I chair the committee who
      reviews and approves medical withdrawals. The committee also consists of
      the Director of Student Health and the Director of Mental Health. Since I am

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      working with vou on the Title IX issue. I will not participate in the review of
      your documents and will relv on the recommendation ofthe other two
      members ofthe committee. Normally,the deadline for requests is the last
      day of classes for the semester."
     (emphasis added.)


Mr. Whitaker filed a Challenge for Bias against All Involved in Attempting to

                  Have Him Obtain Medical Documentation.

      145.    Mr. Whitaker sent a Challenge for Bias to Defendant Thurman,

Defendant Reed, and Defendant Rush on December 9, 2016 for them all

attempting to have him obtain medical documentation; no particular person was

specified, but the group as a whole.



  Defendant Thurman Sent her Report on December 19,2016 Backdated to

                               November 28,2016.

      146.    Defendant Thurman sent Mr. Whitaker and Jane Roe her first report

on December 19, 2016, yet the date reflected November 28,2016.

      147.    Mr. Whitaker brought claims that Defendant Thurman altered the

date on her first report sent on December 19,2016 to November 28,2016 to make

it appear that it was completed before his unspecific challenge for bias that was

sent on December 9, 2016 and altered the date on her second report from January

17, 2017 to December 22, 2016 to make it appear that it was completed before his


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formal challenge for bias that was sent on January 12, 2017 in order to fix the

errors pointed out by Mr. Whitaker in her report and for the dates to appear valid.

       148.   Defendant Thurman stated during the hearing on May 8, 2017,that

when she clicked to update the date on the report, it did not save:

       Joel Wright: Was and, if so. whv was vour first findings report dated
       November twentv-eighth. twentv-sixteen?

       Gina Thurman: That was a day that I had initially done some work-, or that
       I had some work on the report, um,I had attempted—,there's a form—,
       format within Word that you can change it where it automatically updates
       the date that you work on it, and I had, um,attempted to do that and thought
       it had saved it, but it did not save it, and so when I sent it on the nineteenth,I
       did not pay attention—, did not realize that the date had a previous date on it.


       Joel Wright: You stated that the—, can vou restate the reason whv the, uh,
       date was not changed on December nineteenth when vou sent it?

       Gina Thurman: Yeah, in Word,there's an option where you can do insert
       date, and you can click that it automatically updates and I had attempted to
       do that function, and somehow it didn't—, the click did not save and so I
       thought that it was going—,I try to do that so that whenever I work on the
       document, it automatically updates to the last date that I work on it, but it did
       not save it and I did not realize that until after I had sent out the report.
       (emphasis added.)

       149.    Defendant Thurman disclosed the full address and phone number on

file with Augusta University of Jane Roe and Mr. Whitaker on the first page of her

investigation report; these were removed in her second report at the request of Jane

Roe.




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      150.   Jane Roe threatened Mr. Whitaker in a written statement to the

investigator that she would have her boyfriend come and talk to him.

      151.   Mr. Whitaker never signed a FERPA release form and neither did

Jane Roe as to having their student account information disclosed.

      152.   When Mr. Whitaker asked for an advisor he was told by Defendant

Rush that he had to provide his own advisor on December 27, 2016, yet Defendant

Reed said he could have an advisor appointed by the school on December 28,

2016, with his approval:

      Let me know your availability and if you want Jim Rush and/or an Advisor
      (of your choice) present for the meeting as well as moving forward for the
      process, please let me know this as well. During this meeting. I can review
      how an Advisor mav assist vou throughout the process and I mav be able to
      assist vou to identify someone (at the University and with vour approvaO
      depending on what you wish to do.
      (emphasis added.)

      153.    Defendant Reed stated at the hearing on May 8,2017,that she did

not tell Mr. Whitaker that he could have an advisor provided by the University:

      Joel Wright: In December, sixteenth, did you state that the respondent could
      have an advisor provided to him by the school?
      MicheleReed: No.



 Defendant Thurman Included Information in her Report that she Stated she

                               Could Not Include.




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      154.    Defendant Thurman stated to Mr. Whitaker on November 30, 2016,

that information regarding the lab groups was outside ofthe scope ofthe

investigation and could not be considered in the case, yet does so in her report:

      "During my investigation, ofthis allegation, I am following the protocol
      outlined in the AU Sexual Misconduct Policy. Anv issue that
      falls outside of that area, cannot be considered a part ofthis case. I
      appreciate you sharing the steps that you feel I should take but I am
      bound to follow the policy and the training that I have received as a Title IX
      Investigator. You have made some allegations in your email
      that do not fall within the scope ofthis policy and cannot be considered in
      this case."

      (emphasis added.)

      155.    On December 5, 2016, Defendant Thurman tells Mr. Whitaker again

that including information relating to the lab groups is outside the scope ofthe

investigation:

      "I would like to state again that Dr. Wear is only a witness in the case that I
      am investigating. You have made claims regarding Dr. Wear that are outside
      ofthe scope ofthis investigation."
      (emphasis added.)

       156.      After telling Mr. Whitaker that she could not include information

regarding the lab groups. Defendant Thurman does so in her investigation report

sent on December 19,2016.

       157.      Six ofthe eight points that Defendant Thurman used to find Mr.

Whitaker responsible for sexual harassment were related to the lab groups that




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Defendant Wear was to have changed and were not facts relating to the allegation

of sexual harassment.


         158.   Defendant Thurman included a 'previous, and unrelated, allegation'

from a prior semester in her report concerning Mr. Whitaker in which he was never

charged or found responsible.

         159.   Defendant Thurman stated in her report that Mr. Whitaker shared

with her that he sought to 'pursue a relationship' in the prior incident without any

proof.

         160.   The handbook states that unrelated cases shall be investigated

separately unless respondent consents to having them aggregated:

      ''Unrelated charges and cases shall be investigated separately, unless the
         respondent consents to having them aggregated."

         161.   Mr. Whitaker neither consented to having the previous allegation

aggregated nor had knowledge that Defendant Thurman was going to use the

information against him.

         162.   Mr. Whitaker challenged Defendant Thurman including the previous,

and unrelated, allegation in an email on January 12, 2017.

         163.   Defendant Thurman refused to remove the previous allegation from

her second report sent on January 17,2017; the date on the report reflected

December 22,2016.



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      164.    When questioned at the hearing on May 8, 2017, did not remove the

previous, and unrelated, allegation because it was "relevant to her" and that she

was "not aware that she had to have his consent:"

      Joel Wright: Did the respondent ever consent to having the previous
      incident aggregated, as required in--, in the Sexual Misconduct handbook?
      Is that your understanding?
      Gina Thurman: Uh,I was not aware that he had to consent. Um,that
      was previous information that we had. Um,had that been the first allegation
      that I had had, the sanctions might have been different, um. but given that
      there was a previous complaint, um.I choose to use that when making the
      recommendation for sanctions.

      Joel Wright: Could you tell us why you didn't remove the previous
      incident from your second report?
      Gina Thurman: Um,the—, it was—, it was relevant to me and no one ever
      asked me to remove it. So, um, it was, again, part ofthe sanctioning
      process.

      (emphasis added.)

       165.   Mr. Whitaker asked Defendant Reed, Rush, and Thurman to remove

the previous, and unrelated, allegation due to it conflicting with the objectivity of
the case at hand on January 4, 2017 and by email to Defendant Thurman on

January 12,2017; however. Defendant Thurman stated at the hearing that she was

never asked by anyone to remove it.

       166.   On January 4, 2017,Defendant Reed challenged Mr. Whitaker on

removing the previous, and unrelated, allegation and told him they could 'move it

to the back ofthe report if that made him feel more comfortable,' despite the



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handbook reading that he had to consent to aggregating a separate case, and

admitting that there was never a charge or finding against him:

       Michele Reed: There was no charge against vou. There was no finding of
       responsibility.

       DeMarcus: Um-hm.

       Michele Reed: But, because it's on record at the University, whoever holds
       that role, it's their responsibility and obligation to know and to look to see if
       there was anything, previously. Now,in terms ofthe finding, we can move
       what she stated about the previous incident to the back of the report if that
       makes vou feel more comfortable and you can make that as one of your
       recommendations.

      (emphasis added.)

       167.     Defendant Thurman stated that she weighted the previous allegation

in the sanction considerations against Mr. Whitaker even though he was never

charged or found responsible.^

       168.      Defendant Thurman did not change her assertion that Jane Roe

requested the groups to be changed after Mr. Whitaker presented evidence that he
made the request on October 25,2016.

       169.      Defendant Thurman failed to mention in her findings report that Jane

Roe had sent Mr. Whitaker eighteen text messages and only stated that Mr.

Whitaker sent Jane Roe fourteen text messages:

       Attachment F - Copy of cell phone records from Complainant showing
       incoming/outgoing texts between Complainant and Respondent. Phone



 See supra HH 164 and 166.

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      records indicate that Respondent had incoming texts with Complainant on at
      least 14 occasions between August 27. 2016 and September 28,2016.

     (emphasis added.)



 Defendant Thurman did not include a Rationale in her Report for Charging

                     Mr. Whitaker with Sexual Harassment.


      170.    Defendant Thurman found Mr. Whitaker responsible for sexual

harassment without including a rationale:

      "Based upon the factual information obtained during the investigation, I find
      that the Respondent is responsible for violation ofthe policy."

      171.    Defendant Thurman could not provide a clear answer where her

rationale was in the report during the hearing:

      Joel Wright: Did you provide a rationale in your findings report for why the
      respondent was responsible for sexual harassment?
      Gina Thurman: Um,yes, it's included in the res--, in the report, um, again,
      the text messages, the statements made by both parties, um,it's included in
      the finding and facts and analysis.
      Joel Wright: That-, that's where the rationale is included, in the
      finding and fact...
      Gina Thurman: Um-hm... S-,substantial evidence, yeah.


         Sanctions Defendant Thurman Sought to Impose on Mr. Whitaker.




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       172.     Defendant Thuiman sought to impose sanctions on Mr. Whitaker at a

level above a first offense; Mr. Whitaker was never charged before at the

University:

       Sanction Recommendation: Continuation ofNo Contact Letter and
       probation for one academic years(two semesters), 10 hours ofcommunity
       service (at a site approved by the Title IX Coordinator) and a reflection or
       research paper related to Title IX,to be determined and approved by the
       Title IX Coordinator.



       173.         Defendant Thurman stated at the hearing that the sanctions that she

sought to impose would have been different ifthis was not the first allegation

against Mr. Whitaker. ^


        Defendant Reed Used the Backdated Report to Tell Mr. Whitaker that

                         it was too Late to File a Challenge for Bias.


       174.         Mr. Whitaker met with Defendant Reed and Defendant Rush on

January 4, 2017 to discuss Defendant Thurman's findings report and ask about his

challenge for bias that was filed, but not conducted.

        175.        Defendant Reed challenged Mr. Whitaker's challenge for bias on

January 4,2017 by saying that he submitted the challenge after Defendant




 See supra H 164.

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Thurman's findings report(sent on December 19,2016 back-dated to November

28, 2016):

      Michele Reed: in terms of her investigation. Um,ya' know,I'll wait 'til he
      comes down,too. But, one ofthe things that--, that timing ofthe-,the
      recusal and the allegation of bias toward Gina came after the findings report.
      So,I don't know what we're gonna be able to do about that.

      (emphasis added.)

      176.    Defendant Reed then argued that Mr. Whitaker should have sent his

challenge for bias at the beginning ofthe investigation:

      Michele Reed: And.I felt as if vou had an ooportunitv long before when
      vou sent-, long before vou sent that email two months later.
      (emphasis added.)

      177.    The handbook states that a challenge for bias can be filed at any time

in the investigative process when bias is suspected:

      Recusal / Challenge for Bias
      Any party may challenge the participation of any institution official or
      employee in the process on the grounds of personal bias by submitting a
      written statement to the institution's designee setting forth the basis for the
      challenge. The written challenge should be submitted within a reasonable
      time after the individual reasonablv should have known ofthe existence of
      the bias. The institution's designee will determine whether to sustain or deny
      the challenge, and if sustained, the replacement to be appointed.
      (emphasis added.)

       178.   Despite the handbook specifying the challenge should be submitted

within a reasonable time after bias should have been known. Defendant Reed told




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Mr. Whitaker that he had three days to submit it at the beginning ofthe

investigation:

      Michele Reed: I~,I-, DeMarcus,I did tell you, you have an option, I said
      you have three days and the let—, the letter, as well as the policy, which I
      gave to you...
      DeMarcus: Um-hm.

      Michele Reed: said that you have three days to let me know if you're in
      agreement with who the investigator is.
      DeMarcus: I don't recall that.

      Michele Reed: I say that to everybody.
      James Rush: Well, do ya' have the letter?
      Michele Reed: I-, yeah. (Sigh), has been assigned, uh, to meet-, once an
      investigator has been-,this doesn't go into vou have three business davs
      to...

      DeMarcus: Um-hm. 'Cause that never been told to me.
      (emphasis added.)

       179.      Defendant Reed told Mr. Whitaker that it would be 'my word against

yours' regarding telling him that he had three days to file a challenge for bias:

       Michele Reed: I did tell you. I did tell vou. but again, it's gonna be a mv
       word against vour word. But,I'm telling you that that's what this letter says
       and that is what I stated to you, verbally.
      (emphasis added.)

       180.      Mr. Whitaker recorded the meeting using his cell phone.



          Defendant Reed's Cell Phone Went Missing with No Explanation.



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      181.    Defendant Reed stated that she lost the phone when Mr, Whitaker

asked about if she still had the text messages between them about the sending

names of his witnesses:

      DeMarcus: Okay. Okay. Now, you—, with the-, another thing about those
      text messages, you say, you don't have that phone, anymore with the text
      messages? 'Cause,I know you-, noticed you start-, you started sending me
      text messages from another number.
      MicheleReed: Uh-huh.

      DeMarcus: So, you don't—, you still don't retain those text messages that
      we...


      MicheleReed: The police are investigating were the phone is. They're
      tracking it down.

      DeMarcus: You lost it, or something? Or somebody stole it? Or...
      MicheleReed: They're-, police are tracking it down.

      DeMarcus: Hm. Really? What happened?
      Michele Reed: I have no idea.

      DeMarcus: Oh,okay. Okay. Hm. Interesting. Alright, well,I do have all
      those text messages, um,just in case something like that happened.
      MicheleReed: Um-hm.

      DeMarcus: Um,I just gotta make sure I-,I make copies of it, um,uh, but,
      that's—, so, you say, with the phone, you don't know what happened to it?
      You just left it laying around?
      MicheleReed: It's-. I have the messages 'cause it's from mv data.
      DeMarcus: Um-hm.

      MicheleReed: It's from the data and it's from the, um. it's from the—,the
      account. So. I have all the information.

      (emphasis added.)




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      182.    During the hearing on May 8, 2017, Defendant Reed changed from

what she told Mr. Whitaker on January 4, 2017; in which she said that she did

retain the text messages and could provide them to him:

      Joel Wright'. Did you state during an interview with the respondent that the
      police were tracking your cell phone down?
      MicheleReed: I-,I think I said that I issued, uh, a police report. Yes.
      'Cause we have to. It's a work-issued phone. We have to file a report.
      Joel Wright: Did you give-, provide the respondent a reason as to why and
      how it was lost?

      MicheleReed: No.

      Joel Wright: Did vou tell the respondent that vou retained the text messages
      that vou sent him?

      MicheleReed: No.

      Joel Wright: Are vou able to produce the text messages that vou sent
      to the respondent?

      MicheleReed: No.

      Joel Wright: Did you, in fact, file a police report...
      Michele Reed: Uh, yes.
      Joel Wright: for the... Do you recall when that was?
      Michele Reed: I do not.

      (emphasis added.)


        Defendant Reed and Defendant Thurman Changed Their Reasons for

                      Charging Mr. Whitaker Three Times.

       183.   Defendant Thurman and Defendant Reed changed the reasons for

why Mr. Whitaker was charged three times throughout the investigation.

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      184.     First, Defendant Thurman stated on November 30,2016,that Mr.

Whitaker was being investigated to see if he continued to text Jane Roe after she

told him to stop:

      "I am investigating an allegation by {Redacted)that you harassed her by
      continuing to contact her outside ofthe group email after she told you to
      stop and that you touched her without her consent."

      185.     Second, after Jane Roe was unable to produce the content ofthe text

messages between them, Defendant Thurman said on January 27, 2017, that he

said that he never sent text messages, directly, to Jane Roe:

      "Upon my initial interview with you, when Ms. Reed was present, you stated
      that you did not text {Redacted) outside ofthe group text and asking her to
      study outside ofthe group. The phone records indicate that there were text
      messages between just you and {Redacted)that were not part of a group
      text."


       186.    Third, Defendant Reed stated during the hearing on May 8, 2017,

that Mr. Whitaker was charged because of his 'identifying behavior, words, and

actions':


      Joel Wright: Why was the responding party charged with sexual
       harassment?

       Michele Reed: Based upon what was shared initially at the intake
       appointment with the complainant, um, and some ofthe items that were
       shared. Uh.that's the—,the identifying behavior, and words, or actions were
       needing to be looked at for that particular cateeorv based on what was
       shared at that intake meeting.

      (emphasis added.)




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          A Bias Investigation is Initiated against Defendant Thurman and

                                 Defendant Reed.


      187.     Mr. Whitaker issued a challenge for bias against Defendant Thurman

and Defendant Reed on January 12, 2017 that was investigated by Defendant

Woods from East Georgia State College.

      188.     Defendant Woods and Mr. Whitaker met on February 23, 2017,to

discuss his claims of bias against Defendant Thurman and Defendant Reed.

      189.     Mr. Whitaker drove to East Georgia State College on March 7, 2017,

to hand-deliver a USB flash drive to Defendant Woods with all ofthe interviews

that he recorded prior to for her to consider in her investigation; the USB flash

drive was returned to Mr. Whitaker on April 28, 2017.



              Mr. Whitaker Received Incomplete Bias Investigative Results.

       190.    Defendant Woods returned a finding of no bias on the part of both

Defendants Reed and Thurman in which she wrote on March 23,2017:

      "Upon review of all information provided by the respondent and Augusta
      University representatives, I did not find evidence of bias on the part ofthe
      Augusta University Title IX Coordinator or Title IX Investigator."

       191.    Due to the brevity ofthe findings, Mr. Whitaker demanded a more

thorough explanation of how Defendant Woods reached her conclusion, in which

she wrote on April 5,2017, that she would provide him the information:

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      Mr. Whitaker -1 am working on making arrangements to return the thumb
      drive to you. Upon completion ofthe requested information
      regarding the bias review. I will email it to vou.

      Thank you,

      Tracy Woods
     (emphasis added.)

      192.   The Human Resource Director, Debra Arnold, and Defendant Reed

ensured Mr. Whitaker on April 5, 2017,that they would follow up with Defendant

Woods to provide a more thorough explanation:

      Debra Arnold: vou know, it is lust a short response letter. So,I think, uh,
      what vou're looking for is a response to each of vour concerns. And,so.
      mavbe. that's what we could talk to her about.

      DeMarcus: Yeah.

      Debra Arnold: Like, how did she come...
      DeMarcus: Exa—,exactly.
      Debra Arnold: Like, can vou hit each point for-,for the record. Can I see
      how vou decided on each point.

      DeMarcus: Exactly. That's--, um-hm.
      Debra Arnold: Okay. So, we—,that's definitelv something we could talk to
      Tracv about, don't vou think?

      MicheleReed: Yeah. I think we can...

      (emphasis added.)

      193.    Defendant Woods never returned any information concerning a

critical analysis of her findings that she, and the University, promised to Mr.

Whitaker.



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      194.   Defendant Woods stated that she interviewed both Defendant

Thurman and Defendant Reed, however did not provide any notes from those

interviews or dates when they were conducted; nor did Defendant Reed provide a

report ofthe information that Mr. Whitaker provided to her.

      195.   Mr. Whitaker stated that he would be sending additional evidence to

Defendant Woods on; however, she cleared Defendant Thurman and Defendant

Reed of having any bias before he could do so.



    The Bias Investigation is called into Question based on the Partnership

         Between Augusta University and East Georgia State College.

      196.   Mr. Whitaker made claims of a conflict of interest between East

Georgia State College and Augusta University that compromised the integrity of

the bias investigation to Defendant Rush on May 5, 2017.

      197.    On April 5,2017, The Human Resource Director, Debra Arnold,

stated that Defendant Woods was chosen to conduct the bias investigation because

of her 'proximity':

      Debra Arnold: So, um,I don't know if we could find any one school—,I
      think because of her proximitv that was the—, the...

      DeMarcus: Yeah. Convenience.

      Debra Arnold: closest person. Yeah. But, um,the relationship with East
      Georgia,I would really have to look into that. I—, you know, um...
      (emphasis added.)

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      198.   Mr. Whitaker met with the Director of East Georgia State College-

Augusta, Nick Kelch, at Augusta University on April 28, 2017, who disclosed that

there were some "qualms" about the partnership and that the partnership was

mainly based on financial issues associated with the University.

      199.   Augusta University and East Georgia State College renewed their

partnership on September 20,2017 to extend beyond the original August 1,2017

expiration date to August 1, 2022; the partnership was established August 1,2013.



   Mr. Whitaker Reported False Statements Given at the Hearing by Jane

  Roe,Defendant Thurman,and Defendant Reed that went Uninvestigated.

      200.    Defendant Reed stepped down as chair for the hearing due to Mr.

Whitaker's claim of retaliation against her.

      201.    Joel Wright,the Title IX coordinator at Georgia Southern University,

was selected to chair the hearing on May 8, 2017.

      202.    During Mr. Whitaker's opening statement, he had an emotional

reaction upon mentioning his divorce and had to step outside ofthe room.

      203.    After the hearing, Mr. Whitaker reported to Defendant Rush,Legal

Affairs, Human Resources, and the Chief Audit Officer Clay Sprouse, that false




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statements were made by Jane Roe,Defendant Thurman, and Defendant Reed in

writing on May 15,2017,that were never investigated or responded to.^®
       204.          The hearing chairman, Joel Wright, and the hearing panel did not

follow through with disciplinary action against the three parties regarding the

inconsistent statements made during the hearing despite hearing and questioning

some ofthem and having evidence in their hands that contradicted some ofthe

statements given; including Jane Roe's statement that Mr. Whitaker texted her

excessively and that she ceased responding to him, which the phone records

indicated the messages were mutual and she texted him eighteen times while he

texted her fourteen times.


        205. During the hearing on May 8, 2017,Defendant Thurman stated that

Mr. Whitaker admitted to giving Jane Roe a massage with no evidence; prior to the

hearing. Defendant Thurman did not mention this allegation in either of her

investigation reports.

        206.         Jane Roe stated that she did not send Mr. Whitaker text messages to

come study directly, which the text message records indicated otherwise.''
        207.         Defendant Thurman equivocated by telling Mr. Whitaker that he

needed substantial evidence to make an allegation ofthe professor or Jane Roe




  A previously cited false statement by Defendant Thurman is identified at 1)11 84-85.
  See supra 1l 86.

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staring at him, yet not telling Jane Roe that she needed substantial evidence to

make the same allegation, and sharing Jane Roe's statement with third parties:^^
       Joel Wright: Did you tell the respondent in an email, that you could not
       consider instances of where he reported that the complainant kept looking at
       him during class?
       Gina Thurman: I did explain to him that the specific example given to
       us bv the, um. attornevs for the—,the Board of Regents, um. was that
       substantial evidence included more than lust looking at someone... And
       when the respondent stated that the complainant was looking at him,the
       complainant also stated that the respondent was looking at her.
       Joel Wright: Did you tell the respondent that he needed evidence, notjust
       his word?

       Gina Thurman: Yes,I explained to him that I needed substantial evidence
       and that substantial evidence included more than iust someone was looking
       at him, differentlv.

       Joel Wright: In an email concerning his academic grievance, did you state
       that the-, did you state that the respondent continuously looked at the
       complainant during class?
       Gina Thurman: I stated that the complainant shared that the respondent was
       looking at her during class.

       Joel Wright: Was that different than what vou told him?
        Gina Thurman: No. that was the same.

       (emphasis added.)

       208.      Defendant Thurman stated that Mr. Whitaker did not challenge her to

remove the previous allegation from her report; records indicate that Mr. Whitaker

did do so in an email sent to her on January 12, 2017:

       Joel Wright: Did the respondent challenge the rationale behind including a
       previous incident in your report, after you had included it?

  See supra HH 133-134.

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      Gina Thurman: Not to me, no.

      209.    Defendant Thurman referred to the previous complainant as a

'victim,' yet an investigation was never sought after or merited.

      210.    Defendant Reed equivocated by first stating that Defendant Wear

received a copy ofthe no-contact order by email and then stating that she sent the

no-contact order to the wrong biology professor:

      Joel Wright: Did vou send an email notifying Dr. Wear ofthe No-Contact
      Directive?

      MicheleReed: Yes.

      Joel Wright: Did you copy the wrong professor on the email to the
      responding party?
      Michele Reed: Say that one more time.
      Joel Wright: Did vou copv. on the email, the wrong professor vou
       emailed to the responding party?

       MicheleReed: Yes. I believe. Yeah.

      (emphasis added.)

      211.    On April 5,2017, Defendant Reed stated that the professor never

received a copy ofthe no-contact order and told Mr. Whitaker that she told her,

verbally, on October 25, 2016:

       DeMarcus: But, in the no-contact letter, it says-, it says, uh,{Redacted) has
       been notified of this request,the no-contact letter—, letter applies to direct
       contact, um, your professor for the biology class will be copied on this letter
       and she will be informed that you can remain in class. However,she wasn't
       copied in the letter. So,she was the wrong teacher.




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     MicheleReed: She was informed, verballed, from the very beginning when
     the—, when the complainant came forward and requested, as an interim
      measure, she, verbally, was notified by me via the phone.

     DeMarcus: Do you have evidence ofthat?
      Michele Reed: Yes. It's documented. Yes.

     DeMarcus: Hm. Okay.
      Michele Reed: Via phone records.
     (emphasis added.)

      212.     Defendant Thurman first admitted to meeting with Mr. Whitaker on

October 25,2016 when questioned by the Chairman:

      Joel Wright: Did you meet with the respondent on October twenty-fifth,
      twenty-sixteen?
      Gina Thurman: Um,yes. I did.

      213.     However, Defendant Thurman changed her testimony and said that

she did not meet with Mr. Whitaker on October 25, 2016 after being questioned

about Defendant Wear changing the lab groups on that date:

      Joel Wright: Did you speak to the responding party on October twenty-
      fifth?

      Gina Thurman: On October twenty-fifth, um, no, I do not have that I spoke
      with him on the twenty-fifth... I spoke with him on the twenty-second and
      on the twenty-sixth.

      214.     Mr. Whitaker did not speak with Defendant Thurman on October 22,

2016 or October 26.


      215.     Defendant Wear contradicted Jane Roe, Defendant Thurman, and

Defendant Reed's assertion that Jane Roe asked for the lab groups to be changed

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by relaying that Mr. Whitaker asked for the lab groups to be changed on October

25, 2016:

      Joel Wright: Did Ms. Reed instruct you to change the lab groups at the
      request ofthe responding party?
      Dr. Wear: Yes.



              The Hearing Panel Found Mr. Whitaker 'Not Responsible.'

      216. The hearing panel found Mr. Whitaker 'Not Responsible' for sexual

harassment on May 12,2017, based on the following rationale:

      No witness to inappropriate touching was made available
      No witness to conversation indicating sexual harassment was made available
      No other verifiable evidence was presented indicating sexual harassment
      occurred
   • Call logs do not support contact after issuance of"No Contact" notice was
      given
   • The Professor ofthe course. Dr. Wear, indicated she did not witness a
      change in behavior between {Redacted)and Mr. Whitaker and neither
      student asked Dr. Wear to be moved while in either the classroom or lab
      locations


      217.     Mr. Whitaker reported to be moved to Defendant Reed and

Defendant Thurman after reporting that Defendant Wear was treating him different

after the allegation was made.

      218.     Jane Roe did not appeal the outcome ofthe hearing panel after being

given five days to do so.



              The Chief Auditor Refused to Audit the Title IX Department.

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      219.    Mr. Whitaker met with Defendant Rush on May 3,2016,to request

an audit on the Title IX department at Augusta University, in which he responded,

'Who's going to pay for it?' and referred him to speak with the Chief Audit Officer

ofInternal Audits, Clay Sprouse.

      220. On May 5, 2017, Mr. Whitaker met with Mr. Sprouse to discuss risks

associated with the Title IX department at the Augusta University Audit

department, in which Mr. Sprouse said that Defendant Thurman should have

recused herselffrom the investigation and that he would not perform an audit on

the Title IX department due to the University facing a 22 million-dollar lawsuit:

       Clay Sprouse: I'm okay with her getting-, being there and everything...
      DeMarcus: Yeah, yeah.
       Clay Sprouse: But, if um. it gets to a point where she might be conflicted
       about something...

       DeMarcus: Yeah.

       Clay Sprouse: there should be a mechanism in there to sav."I'm out."
      (emphasis added.)
       221.   After Mr. Whitaker was found 'not responsible,' by the hearing panel

he called Mr. Sprouse on May 15, 2016 to re-request an audit ofthe Title IX

department, in which Mr. Sprouse stated that he was not going to honor his request

and said,"You were found not responsible, isn't that what you wanted?"



                  Mr. Whitaker's Counterclaim Goes Uninvestigated.


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      222.   Mr. Whitaker submitted a counterclaim against Jane Roe for

violating the no-contact order in the form of documentation on April 25,2017; the

envelope was stamped "received April 26,2017" by the Title IX department.

      223.   Defendant Byrdsong was assigned by Defendant Rush to investigate

Mr. Whitaker counterclaim and contacted him on June 13, 2017;32 days after Jane

Roe had graduated:

      Good evening Mr. Whitaker,
      Mv name is Dr. Ouincv Bvrdsong and I have been assigned to investigate
      vour Title IX complaint. My availability is pretty open during the summer. I
      am not sure when you are on campus but,I would like to arrange a time for
      us to discuss your case at a convenient time for you. Email is the best way to
      contact me but I may also be reached at 706-721-9272.1 look forward to
      your response.

      (emphasis added.)

      224.    Defendant Rush stated that they did not investigate Mr. Whitaker

claim because they 'wanted to wait until Jane Roe's was finished.'

      225.    Jane Roe never received notice that a counterclaim investigation had

been opened against her as Mr. Whitaker did.

      226.    Defendant Byrdsong was not a Title IX investigator and worked in

the Office of Diversity and Inclusion as the Chief Diversity Officer, nor did

Defendant Byrdsong receive training on Title IX investigations.




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      221. Defendant Byrdsong wrote to Mr. Whitaker on August 8,2017 in

which Mr. Whitaker responded on August 9, 2017 with a request to meet the

following week; Defendant Byrdsong never responded.

      228.   On November 8, 2017, Mr. Whitaker met with the Dean of Students,

Scott Wallace, to discuss the appeal of Mr. Whitaker's counterclaim that

Defendant Rush rejected.

      229.    Mr. Wallace disclosed that Defendant Byrdsong had left the

University during the summer.

      230. Defendant Byrdsong was under investigation by the University for

disciplinary issues, yet was selected by Defendant Rush to investigate Mr.

Whitaker's counterclaim.

      231. Despite denying Mr. Whitaker's counterclaim, Mr. Wallace admitted
that there was no provision in the no-contact order that allowed for contact to be

made during class, yet chose not to hold Jane Roe accountable for violating it.



         Defendant Rush Dismissed Mr. Whitaker's Counterclaim without a

                             Hearing or Investigation.



      232.    Defendant Rush told Mr. Whitaker that Jane Roe was out ofthe

University's jurisdiction because she had graduated:

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      233.    However,the Student Misconduct policy states under 'University

Conduct System Authority and Jurisdiction:'

      "Each student is responsible for his or her conduct from the time of
      application of admission through the actual awarding of a degree, even
      though conduct may occur during periods between terms of actual
      enrollment and even if the conduct is not discovered until after a degree is
      awarded."

      (emphasis added.)

      234.    Defendant Rush and Angelica Hardison told Mr. Whitaker on August

16, 2017,that they would not make him aware of any sanctions against Jane Roe if

they did charge her to violating the no-contact order:

      235.    However, Jane Roe was made aware of any possible sanctions that

Mr. Whitaker would have received if he was found responsible for sexual

harassment by receiving a copy of Defendant Thurman's investigative reports on

December 19, 2016 and January 17, 2017.

      236.    On August 16, 2017, Mr. Whitaker met with Defendant Rush and

Angelica Hardison to discuss discrepancies throughout their investigation, in

which James Rush responded by asking Mr. Whitaker,"Are you perfect?"

      237.    Defendant Rush asked how Mr. Whitaker was affected by the

discrepancies ofthe investigation and after Mr. Whitaker responded that he

suffered a divorce. Defendant Rush stated,"I don't think your divorce has

anything, necessarily, to do with this case."


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      238.   Defendant Rush attempted to have Mr. Whitaker's advisor, Deborah

Collier, speak during meetings; of which the handbook states that advisors may not

participate directly during any proceedings.

      239.    Mr. Whitaker followed the guidelines and refused to allow his

advisor to speak.



             The Board of Regents of the University System of Georgia's

                     'Discretionary Review' Final Decision.

      240.    The Board of Regents agreed that Mr. Whitaker's failing grade in the

biology class was due to the professor's actions and, or, inactions and instructed

Augusta University to change his failing grade to a withdrawal from the course.

      241.    The withdrawal grade recorded still required Mr. Whitaker to pay

back the financial assistance provided by the Army's Tuition Assistance program.

      242.    The Board of Regents failed to address Mr. Whitaker's counterclaim

that was submitted against Jane Roe for violating the no-contact order.

      243.    The Board ofRegents responded after Mr. Whitaker wrote that all of

his claims were not addressed on May 31, 2018:

      "The Discretionary Review Committee reviewed your complaint and, based
      on the material presented, made the determination that withdrawing you
      from BIOL 1108, removing the grade that you received, and allowing you an
      opportunity to retake the course in the future was the appropriate course of
      action based on the materials."


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          Mr. Whitaker Reported Six Conflicts of Interest throughout the

                                     Investigation.

      244.       Mr. Whitaker identified six conflicts of interest throughout the

investigation:

      245. (i) Defendant Thurman held positions outside of her role as a

volunteer Title IX investigator including: Assistant Dean of Student Life &

Enrollment, Student Counseling and Psychological Services Supervisor(of which

Jane Roe received counseling from Augusta University), Office of Testing and

Disability Services Supervisor, Campus Assessment Response and Evaluation

Team Chairperson (of which Defendant Thurman attempted to have Mr. Whitaker

submit medical documentation to her to make a decision on removing him from the

biology class), and Deputy Title IX coordinator.

      246. (ii) Defendant Reed worked as the Title IX coordinator under the

supervision of Defendant Rush, who serves as 'general counsel' for Augusta

University and does not report directly to the president.

      247. (iii) Defendant Rush dismissed Mr. Whitaker's counterclaim without

informing him that he had taken authority over his claim while serving as a lawyer,

or 'general counsel,' for Augusta University.




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      248. (iv) Defendant Woods was selected by Augusta University officials

from East Georgia State College, which is a college that they have a partnership

with and share financial assets and resources since May 14, 2013.

      249. (v) Defendant Woods served as the Title IX coordinator from East

Georgia State College, yet also had the role ofHuman Resources Director.

      250. (vi) Defendant Byrdsong was selected by Defendant Rush to

investigate Mr. Whitaker's counterclaim, yet held the additional role of Chief

Diversity Officer in the office of Diversity and Inclusion, not reporting directly to

the Title IX coordinator. Defendant Reed.



       Title IX Training Records for Augusta University Unaccounted for and

                      No Budget Assigned for Investigations,

       251.   East Georgia State College provided documentation of Defendant

Woods training and certifications from ATIXA (Association for Title IX

Administrators)for 2016 and 2017 upon request.

       252.   Augusta University did not provide records oftraining and

certifications for any person involved in Mr. Whitaker's case assuming a Title IX

position:

       The second attachment of your request seeks "[a]ny and all Title IX training
       records for James Rush, Michele Reed, Gina Thurman, Tracy Woods, and
       Quincy Byrdsong, including the dates, content, and the trainer, during 2016
       and 2017. Again, we do not maintain records in the manner that vou have
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      requested, but in an effort to demonstrate that personnel have been involved
      in extensive training, we have attached a list of training involving the listed
      personnel.
     (emphasis added.)

      253.   The list that Augusta University provided is unable to be verified as

the records and emails provided from East Georgia State College.

      254.   There was no training regarding 'Due Process Rights ofthe Accused'

or training regarding how to conduct an investigation in response to a 'Challenge

for Bias/Recusal' from either Augusta University or East Georgia State College.

      255. The Challenge for Bias investigation was delayed after Mr. Whitaker

filed it until Augusta University could receive guidance from the Board of Regents

on how to conduct it, as Defendant Thurman wrote on January 17, 2017:

      I understand that you have challenged my involvement in this investigation
      and we are awaiting clarification from the Board of Regents on vour charge.
      Until we receive an update on how to proceed,I have reviewed your
      response to the report and have made some changes.
      (emphasis added.)

      256.    Augusta University did not provide records regarding any budget

assigned for Title IX investigations:

      The first part of your request seeks budget records for Title IX investigations
      at Augusta University for fiscal years 2016 and 2017. We do not maintain
      anv records in the manner that vou have requested.
      (emphasis added.)




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           Mr. Whitaker Reported Three FERPA Violations by Defendant

                         Thurman and Defendant Rush.


      257.    Throughout the Title IX investigation, Augusta University personnel

committed three violations ofthe Family Educational Rights and Privacy Act

(FERPA).

      258.    Defendant Thurman exposed Mr. Whitaker's email for the professor

to see without his consent regarding the investigation.

      259.    Defendant Rush did not produce a copy of the hearing requested on

May 26,2017 until September 1,2017; past the 45-day federal guideline.

      260.    Defendant Thurman included both Mr. Whitaker's and Jane Roe's

full home address and phone number on the first page of her investigative report,

which was removed in her second report at the request of Jane Roe.



                 Open Record Requests Submitted by Mr. Whitaker.

      261.    Mr. Whitaker submitted open record requests for various Title IX

information including the training records of Title IX personnel and only received

records from Defendant Woods.

                                        Damages.

       262.   Mr. Whitaker suffered damages in the form of not receiving his

tuition back that was paid for the Fall 2016 semester, being forced to drop out of

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his Biology class and failing his Macroeconomics class due to the unnecessary

stress which triggered back spasms, having to receive counseling for damages to

physical wellbeing, emotional and psychological damages, damages to reputation,

past and future economic losses, loss of educational and career opportunities with

the Army from no longer being in the ROTC program to becoming an officer, and

loss offuture career prospects.




                                V. CAUSES OF ACTION


                                    COUNT ONE
  DISCRIMINATION ON THE BASIS OF GENDER IN VIOLATION OF
      TITLE IX OF THE EDUCATION AMENDMENTS OF 1972,
                                   20 U.S.C.§ 1681
                        (Against Defendant Board of Regents)

      263.     Plaintiff repeats and realleges each and every allegation hereinabove

as if fully set forth herein.

      264.     Augusta University and East Georgia State College are recipients of

federal funding and subject to Title IX liability.

       265.    Mr. Whitaker experienced discrimination and harassment in which

officials with authority, including the Board of Regents, had actual knowledge of

and failed to adequately respond to and remedy; such as Jane Roe violating the no-

contact order three times and not even being investigated; Defendant Woods not

giving him a rationale for her decision to not remove the investigator or Title IX

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coordinator; Mr. Whitaker's reports offalse statements made at the hearing being

ignored via email; not interviewing all of Mr. Whitaker's witnesses; telling Mr.

Whitaker that no responding to the allegations would be used against him;

assigning personnel with conflicts of interest; not providing Mr. Whitaker with a

hearing for his counterclaim; Defendant Reed ignoring his claims of retaliation

against her via email; not providing Mr. Whitaker with a rationale for charging

him; using a previous, and unrelated, allegation in which Mr. Whitaker was not

charged, or investigated, against him; Defendant Rush telling Mr. Whitaker that

Jane Roe was out ofthe university's jurisdiction because she had graduated when

the handbook says she is not and that they did not investigate his complaint against

Jane Roe because they wanted to wait until his investigation was finished, of which

Jane Roe had already graduated; and Angelica Hardison telling Mr. Whitaker that

they would not inform him ifthey did charge Jane Roe for violating the no-contact

order.


         266. The Board of Regents failed to adequately deal with the student-on-

student harassment and charge Jane Roe with violating the no-contact order, failed

to address the false statements given at the hearing, and the officials at Augusta

University and East Georgia State College were deliberately indifferent to Mr.

Whitaker's reports by not responding to emails and Defendant Rush telling him to

'sue us.'



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      267.    The discrimination was severe, pervasive, and objectively offensive

due to ignoring Jane Roe violating the no-contact directive and multiple officials

not taking action to remedy the discrimination.

      268.    The discrimination barred Mr. Whitaker access to the educational

opportunities and benefits because he did not receive equal treatment when

submitting his counterclaim and withdrew from the university after the Fall 2016

semester.




                                    COUNT TWO
     DISCRIMINATION ON THE BASIS OF RACE AND COLOR IN
    VIOLATION OF TITLE VI OF THE CIVIL RIGHTS ACT OF 1964,
                       42 U.S.C.§ 2000d
                        (Against Defendant Board of Regents)

      269. Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.
       270.    Plaintiff is an African American that received treatment that was less

favorable compared to Jane Roe; who was fair skin in relation to Mr. Whitaker.

Also, the investigator, the Title IX coordinator, and the bias investigator were all

Caucasian females that made decisions on Mr. Whitaker's investigation based

upon Jane Roe's complaint. .


                                   COUNT THREE
  VIOLATION OF OF THE 5^^ AND 14*'' AMENDMENT TO THE UNITED
                                STATES CONSTITUTION


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            Procedural and Substantive Due Process, 42 U.S.C. §1983
  (Against Defendants Board of Regents, Rush,Reed, Thurman,Byrdsong, and
   Woods in their official capacities for injunctive relief and against Defendants
 Board of Regents, Rush, Reed, Thurman, Byrdsong, and Woods in their personal
                            capacities for money Damages)

      271.     Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       272.    Defendants violated Mr. Whitaker's procedural due process rights

by:

      (i)     Assigning personnel with conflicts of interest;
      (ii) Including an unrelated allegation in the investigation against him
       without his consent;

       (iii) Telling him that not responding to the allegation would be used
       against him;
      (iv) The wrong professor receiving the no-contact order;
      (v) Not recording his interviews with them;
       (vi) Giving false statements during the hearing under oath;
       (vii) Not investigating his counterclaim;
       (viii) The professor failing to change the lab groups when instructed by the
       Title IX coordinator;
       (ix) The challenge for bias investigation was incomplete due to never
       receiving a rationale after being told he would or a summary ofthe
       interviews conducted;
       (x) Only one of Mr. Whitaker's five witnesses were questioned;
       (xi) Jane Roe did not receive a notice of an investigation being raised
       against her in Mr. Whitaker's counterclaim;


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       (xii) Defendant Thurman omitted information that Mr. Whitaker gave her
       from her investigation report; and
       (xiii) Defendant Byrdsong was assigned to investigate Mr. Whitaker's
       counterclaim despite being under investigation and the university having
       other investigators who were available.
       (xiv) Defendant Rush stated that they did not investigate Mr. Whitaker's
       counterclaim because they wanted to wait until after Mr. Whitaker's
       investigation was finished. Mr. Whitaker was not informed that they were
       acting upon his complaint until after Jane Roe had graduated.

       273.    Defendants violated Mr. Whitaker's substantive due process rights
by:
       (i) the false statements given at the hearing not being addressed by the
       hearing chairman or the chief integrity officer, Defendant Rush (email was
       never responded to.);
       (ii) the Board of Regents failed to address Jane Roe violating the no-
       contact order in their discretionary review after Mr. Whitaker submitted the
       information to them;
       (iii) the Bias investigator, Defendant Woods,failed to remove the Title IX
       coordinator and investigator due to conflicts of interest; and
       (iv) the investigator refused to charge Jane Roe with violating the no-
       contact order by stating that it was okay for her to speak to Mr. Whitaker
        during class, which the no-contact order states is not authorized.



                                   COUNT FOUR
      VIOLATION OF THE EQUAL PROTECTION CLAUSE OF THE 14*''
         AMENDMENT TO THE UNITED STATES CONSTITUTION
                         PURSUANT TO 42 U.S.C.§ 1983
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(Against Defendants Rush, Reed, Thurman,Byrdsong, and Woods in their official
  capacities for injunctive relief; and against Defendants Rush, Reed, Thurman,
     Byrdsong, and Woods in their personal capacities for money damages)

       274.    Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       275.    Defendants failed to provide equal protection to Mr. Whitaker by

providing Jane Roe with protections that Mr. Whitaker did not receive. Jane Roe

made false statements during the hearing that were not investigated or addressed

even after Mr. Whitaker sent emails that were never responded to. Title IX

officials made statements that favored Jane Roe over Mr. Whitaker. Mr. Whitaker

never received a hearing or an investigation report for his counterclaim, and the

bias investigator. Defendant Woods,failed to remove the investigator and Title IX

coordinator despite their conflicts of interest and failed to state reasons for not

doing so. Defendant Rush told Mr. Whitaker that Jane Roe was out ofthe

university's jurisdiction because she had graduated when the handbook says she is

not and Angelica Hardison told Mr. Whitaker that they would not inform him if

they did charge Jane Roe for violating the no-contact order. Defendant Rush stated

that they did not investigate Mr. Whitaker's complaint against Jane Roe because

they wanted to wait until his was finished, of which Jane Roe had graduated, yet he

submitted it while she was enrolled. Also, the investigator refused to charge Jane

Roe with violating the no-contact order and told Mr. Whitaker that it was okay for


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her to speak to him during class, which the no-contact order states was not

authorized.




                                   COUNT FIVE
   RETALIATION IN VIOLATION OF THE V AMENDMENT OF THE
   UNITED STATES CONSTITUTION PURSUANT TO 42 U.S.C.§ 1983
  (Against Defendants Board of Regents, Rush, Reed,Thurman,Byrdsong, and
   Woods in their official capacities for injunctive relief and against Defendants
 Board of Regents, Rush,Reed, Thurman,Byrdsong, and Woods in their personal
                          capacities for money Damages)

      276.     Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       277.    Mr. Whitaker reported retaliation and discrimination by the professor

and Title IX personnel that was not acted upon and was charged with sexual

harassment for refusing to obtain medical documentation to be removed from his

biology course without penalty as a tradeoff for not reporting the professor for

negligence and discrimination. Further actions include Defendant Thurman

exposing Mr. Whitaker's email against the professor for her to see without his

consent; Defendant Reed ignoring Mr. Whitaker's report of retaliation against her

by hanging the phone up in his face and not responding to his email report against

her; Defendant Woods refusing to provide reasons for her not finding bias;

Defendant Rush telling Mr. Whitaker that Jane Roe was out ofthe university's

jurisdiction because she had graduated when the handbook says she is not;

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Angelica Hardison telling Mr. Whitaker that they would not inform him if they did

charge Jane Roe for violating the no-contact order; and Defendant Rush dismissing

Mr. Whitaker's Title IX counterclaim without an investigation or hearing. Also,

the investigator refusing to charge Jane Roe with violating the no-contact order

after Mr. Whitaker reported the violations.



                                   COUNT SIX
     VIOLATION OF THE RIGHT AGAINST SELF-INCRIMINATION
      CLAUSE OF THE 5**^ AMENDMENT TO THE UNITED STATES
                                 CONSTITUTION
                         PURSUANT TO 42 U.S.C.§ 1983
    (Against Defendants Board of Regents, Reed and Thurman in their official
capacities for injunctive relief; and against Defendants Board ofRegents, Reed and
             Thurman in their personal capacities for money damages)

      278. Plaintiff repeats and realleges each and every allegation hereinabove
as iffully set forth herein.

      279.    Defendant Reed stated that not responding to the investigation report

against him meant that she would go by whatever was written against him within

it; however,the handbook states that not responding will not be held against the

respondent and taken as a general denial ofthe allegation.



                                  COUNT SEVEN
                               BREACH OF CONTRACT
                       (Against Defendant Board of Regents)



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      280. Plaintiff repeats and realleges each and every allegation hereinabove

as if fully set forth herein.

       281.    Defendants breached their contract with Mr. Whitaker by not

following the guidelines outlined in their own policies and handbooks. Such acts

include: not providing Mr. Whitaker with a fair and impartial investigator and

coordinator free from conflicts of interest; including a previous, and unrelated,

allegation in the investigation in which Mr. Whitaker was never investigated for;

refusing to charge Jane Roe with violating the no-contact order; failing to

interview all of Mr. Whitaker's witnesses; failing to investigate Mr. Whitaker's

counterclaim against Jane Roe or provide him with a hearing; not addressing the

false statements given during the hearing by Jane Roe,the investigator, and the

Title IX coordinator; the professor not receiving a copy ofthe no-contact order;

Defendant Reed failing to report Mr. Whitaker report of retaliation against her;

Jane Roe not receiving a notice ofthe counterclaim investigation against her;

Defendant Rush telling Mr. Whitaker that Jane Roe was out ofthe university's

jurisdiction because she had graduated when the handbook says she is not;

Defendant Rush not investigating Mr. Whitaker's counterclaim by stating they

wanted to wait until after his investigation and hearing was over; Angelica

Hardison telling Mr. Whitaker that they would not inform him ifthey did charge


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Jane Roe for violating the no-contact order; and Defendant Rush attempting to

have Mr. Whitaker's advisor violate the policy by speaking during meetings.

      282.     As a result ofthe foregoing, Mr. Whitaker is entitled to damages in

an amount to be determined at trial.


                                 COUNT EIGHT
    BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
                        (Against Defendant Board of Regents)


      283. Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       284.    Defendants failed to deal with Mr. Whitaker in a fair and honest

manner throughout the investigation by not providing him with impartial Title IX

personnel free of conflicts of interest; backdating reports; including information

that they told him they could not include; refusing to charge Jane Roe with

violating the no-contact order; Defendant Rush telling Mr. Whitaker that Jane Roe

was out ofthe university's jurisdiction because she had graduated when the

handbook says she is not; Angelica Hardison telling Mr. Whitaker that they would

not inform him ifthey did charge Jane Roe for violating the no-contact order; and

refusing to investigate his counterclaim.

       285.    As a result ofthe foregoing, Mr. Whitaker is entitled to damages in

an amount to be determined at trial.



                                   COUNT NINE

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                                  NEGLIGENCE
                        (Against Defendant Board of Regents)

       286.    Plaintiff repeats and realleges each and every allegation hereinabove

as if fully set forth herein.

       287.    Defendants committed acts of negligence including not providing a

rationale for why Mr. Whitaker was charged with sexual harassment; not charging

Jane Roe with violating the no-contact order three times; not addressing the false

statements given at the hearing my Jane Roe,the investigator, and the coordinator;

Defendant Thurman omitting information that Mr. Whitaker gave her from her

report; the bias investigator not removing Title IX personnel with conflicts of

interest and having made biased statements by email; the bias investigator not

including a rationale in her findings of no bias; not investigating Mr. Whitaker's

counterclaim or providing him with a hearing; and the Board of Regents not

addressing the issue of Jane Roe violating the no-contact order in their

discretionary review.

                                    COUNT TEN
                                NEGLIGENCE PER SE
                        (Against Defendant Board of Regents)

       288. Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       289. Defendants neglected to ensure that Mr. Whitaker received a fair and

impartial investigation apart from conflicts of interest.
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                                 COUNT ELEVEN
                                      FRAUD
                        (Against Defendant Board of Regents)

       290.    Plaintiff repeats and realleges each and every allegation hereinabove

as if fully set forth herein.

       291.    Defendants committed the act offraud by backdating the

investigation report sent on December 19^, 2016 to November 28*,2016 which
reflected a date before Mr. Whitaker sent his challenge for bias on December 10*,

2016. Defendant Reed attempted to deceive Mr. Whitaker on January 4,2017 by

stating that his challenge for bias came after her findings report despite knowing

that it did not. The bias investigator, defendant Woods, used the backdated reports

in deciding whether to find bias, or not, which she did not. Mr. Whitaker suffered

by being misrepresented during the hearing by further false statements by the

investigator and coordinator, only to be found innocent by the hearing panel.

Further acts include: Defendant Byrdsong telling Mr. Whitaker that he would

investigate his counterclaim and never doing so. Defendant Woods telling Mr.

Whitaker that she would provide him with a rationale on her decision to not find

bias and never doing so, and Defendant Rush making a decision on Mr. Whitaker's

counterclaim without informing him that he would do so, while also serving as

general counsel for Augusta University. Also,the investigator refused to charge

Jane Roe with violating the no-contact order after she had spoken to Mr. Whitaker
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after it had been issued by stating that it was okay for her to speak to him during

class.



                                   COUNT TWELVE
                                CONFLICT OF INTEREST
                        (Against Defendant Board of Regents)

         292.   Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.
         293.   Mr. Whitaker identified six conflicts of interest throughout the

investigation: the investigator serving as the Assistant Dean of Student Life &

Enrollment, Student Counseling and Psychological Services Supervisor(of which

Jane Roe received counseling from Augusta University), Office of Testing and

Disability Services Supervisor, and Campus Assessment Response and Evaluation

Team Chairperson; Defendant Reed worked under Defendant Rush who served as

general counsel for Augusta University; Defendant Rush dismissed Mr. Whitaker's

counterclaim while serving as a lawyer for Augusta University; Defendant Woods

was selected by Augusta University officials from East Georgia State College as

the bias investigator despite the partnership between the two colleges; Defendant

Woods served as the Title IX coordinator from East Georgia State College, yet also

had the role of Human Resources Director; and Defendant Byrdsong was selected

by Defendant Rush to investigate Mr. Whitaker's counterclaim, yet held additional



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duties in the Office of Diversion and Inclusion, not reporting directly to the Title

IX coordinator.




                                COUNT THIRTEEN
           NEGLIGENT HIRING,TRAINING,AND SUPERVISION
                        (Against Defendant Board of Regents)

       294.    Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       295.    Defendant Board of Regents failed to hire, train, and supervise Title

IX personnel to prevent conflicts of interest and bias. The training material that

was missing included due process rights ofthe accused and training on how to

conduct a bias investigation. No training records were retained by Augusta

University for their Title IX staff; only for Defendant Woods at East Georgia State

College.




                                COUNT FOURTEEN
     BREACH OF CONTRACT/COMMON LAW:DENIAL OF BASIC
    FAIRNESS/ ARBITRARY AND CAPRICIOUS DECISION MAKING
                         (Against Defendant Board of Regents)

       296.    Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       297.    The investigator did not include a rationale for charging Mr.

Whitaker with sexual harassment, nor did the bias investigator include a rationale
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for not finding bias in either the investigator or the Title IX coordinator. The

investigator refused to charge Jane Roe with violating the no-contact order or held

accountable for her false statements during the hearing (as well as the false

statements ofthe investigator and Title IX coordinator). Defendant Rush

dismissed Mr. Whitaker's counterclaim without a rationale and attempted to have

Mr. Whitaker's advisor violate policy by speaking during meetings.


                                 COUNT FIFTEEN
                          DELIBERATE INDIFFERENCE
                        (Against Defendant Board of Regents)

       298. Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       299.    Defendants showed deliberate indifference towards Mr. Whitaker's

complaints by not charging Jane Roe with violating the no-contact order; the
professor failing to change the lab groups after being instructed to by the Title IX
coordinator; Mr. Whitaker's report of retaliation being ignored by the Title IX

coordinator; Defendant Woods not removing Title IX personnel with conflicts of

interest or providing a rationale for her decision; the false statements made by Jane

Roe,the investigator, and the Title IX coordinator were not addressed and ignored

by email; Angelica Hardison telling Mr. Whitaker that they would not inform him
ifthey decided to charge Jane Roe with violating the no-contact order; and

Defendant Rush dismissing Mr. Whitaker's counterclaim without a hearing, or an
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investigation, and stating,"If you're gonna sue us, sue us,""I don't think your

divorce has anything, necessarily, to do with this case,""Okay, get real. Really?

Please, do me a favor, get real. Um,if you have fifty questions you wanna ask me,

do me a favor—, and we're gonna end this meeting now because I get to do that,"

"It's the biggest issue for you, right now, in your life. It's not necessarily my

biggest issue, right now," and telling him,"Whatever rights you have, please go

forward. Godspeed. Do it."


                                 COUNT SIXTEEN
                            HOSTILE ENVIRONMENT
                        (Against Defendant Board of Regents)

       300.    Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       301.    Defendants created a hostile environment for Mr. Whitaker by

allowing Jane Roe to speak to Mr. Whitaker three times after the no-contact order

had been issued; the professor failing to change the lab groups; the investigator

exposing Mr. Whitaker's emails for the professor to see; retaliation by the Title IX

investigator and coordinator by ending his meeting when reporting the professor

and ignoring his report of retaliation against the Title IX coordinator; the false

statements made during the hearing by Jane Roe,the investigator and Title IX

coordinator; and Defendant Rush refusing to investigate Jane Roe for violating the

no-contact order and denying Mr. Whitaker a hearing.

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                                 COUNT SEVENTEEN
                                ERRONEOUS OUTCOME
                        (Against Defendant Board of Regents)

       302.    Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       303.    The outcome ofthe challenge for bias investigation was erroneous

because the bias investigator failed to remove the Title IX coordinator and

investigator for the conflicts of interest and biased statements; the bias investigator

did not include a rationale for her decision-making or an analysis ofthe facts

presented by Mr. Whitaker.

       304.    The outcome of Jane Roe violating the no-contact order was not

addressed in the Board of Regent's discretionary review after Mr. Whitaker

appealed Augusta University's findings that it was not violated after Jane Roe

admitted to speaking to Mr. Whitaker during the hearing and the professor

admitted to witnessing her do so.


                                  COUNT EIGHTEEN
                    PROMISSORY ESTOPPEL & RELIANCE
                        (Against Defendant Board of Regents)

       305. Plaintiff repeats and realleges each and every allegation hereinabove

as iffully set forth herein.

       306.    The Board of Regents and Augusta University's various policies

constitute representations and promises that the Board of Regents and Augusta
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University should have reasonably expected to induce action, or forbearance, by

Mr. Whitaker. Furthermore, Defendants made promises to Mr. Whitaker that were

breached to include:

      (i) Defendants not following their own policies and guidelines in the
      sexual misconduct policy in regards to a fair and impartial investigation;
      (ii) Defendant Reed telling Mr. Whitaker that she could recover their text
      message correspondence and later retracting that statement at the hearing;
      (iii) Defendant Thurman omitting information that Mr. Whitaker gave to her
      from her report, which she admitted to via email, yet told the hearing panel
      that she did not;
      (iv) Defendant Woods, and Augusta University, promising Mr. Whitaker
      that they would provide him with a rationale and analysis of how Defendant
      Woods did not find bias in the investigator and coordinator and failing to do
      so;

      (v) Defendant Byrdsong telling Mr. Whitaker that he was investigating his
      counterclaim and then abandoning the investigation without informing Mr.
      Whitaker;
      (vi) Angelica Hardison telling Mr. Whitaker that he would not even know if
      they charged Jane Roe for violating the no-contact order; and
      (vii) Defendant Board of Regents failing to address the issue of Jane Roe
      violating the no-contact order in their discretionary review.

                              COUNT NINETEEN
                          SELECTIVE ENFORCEMENT
                       (Against Defendant Board of Regents)

      307. Plaintiff repeats and realleges each and every allegation hereinabove

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as if fully set forth herein.

       308.    Defendants selectively enforced Title IX by:

      (i) Not charging Jane Roe with violating the no-contact order three times;
      (ii) The professor failing to change the lab groups after being instructed to
       do so by the Title IX coordinator;
      (iii) Defendant Thurman telling Mr. Whitaker that Jane Roe looking at him
       during class was not proof of harassment and then telling third parties that
       Jane Roe shared that Mr. Whitaker would look at her (stated in emails);
      (iv) Defendant Thurman omitted information that Mr. Whitaker gave to her
       from her report and admitted to doing so by email on January 17, 2017, yet
       informed the hearing panel that she did not;
      (v) False statements made by Jane Roe,the investigator, and the Title IX
       coordinator during the hearing were not addressed and emails were ignored;
       (vi) Defendant Reed ignored Mr. Whitaker's report against her for
       retaliation via email;
       (vii) Defendant Rush dismissed Mr. Whitaker's counterclaim without a
       hearing or an investigation and stated,"One answer. Was that really
       harassment?"; and
       (viii) Angelica Hardison telling Mr. Whitaker that he would not even know
       if they charged Jane Roe for violating the no-contact order.
       (ix) Defendant Thurman switched regarding the no-contact order after Jane
       Roe had violated it by stating that it was okay to speak during class when the
       no-contact order stated it was not.



                                 COUNT TWENTY
                            MALICIOUS PROSECUTION
                         (Against Defendant Board of Regents)
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         309. Plaintiff repeats and realleges each and every allegation hereinabove

as if fully set forth herein.

         310.   The charge against Mr. Whitaker was terminated in his favor due to

no evidence on May 12, 2017 by the hearing panel that stated,"No other verifiable

evidence was presented indicating sexual harassment had occurred." Defendant

Thurman, Reed,and Rush played an active role in charging Mr. Whitaker and

supported the charge with no evidence or rationale and changed why they charged

him after Jane Roe could not produce any text messages alleging that he harassed

her, despite still having her cell phone at the hearing. As gatekeeper against

unmerited charges. Defendant Reed did not vet Defendant Thurman's charge and

allowed it to move forward despite no rationale or evidence. Before Mr. Whitaker

reported them for retaliation. Defendant Rush stated that there was no proof of

harassment on December 6,2016:"There's no proofthat anything happened,

unless we were there."

         311.   As a result ofthe foregoing, Mr. Whitaker is entitled to damages, not

limited to compensatory and punitive damages, in an amount to be determined at

trial.




                                COUNT TWENTY-ONE
                                ABUSE OF DISCRETION
                         (Against Defendant Board ofRegents)

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      312.     Plaintiff repeats and realleges each and every allegation hereinabove
as iffully set forth herein.

      313.     Defendants abused their discretion by:

      (i)     Charging Mr. Whitaker with sexual harassment without a rationale.
      (ii) Defendant Thurman including a previous, and unrelated, allegation
       against Mr. Whitaker without his consent;
      (iii) Defendant Thurman altering her investigation report after Mr.
       Whitaker submitted a challenge for bias against her;
      (iv) Defendant Woods not removing the investigator or the Title IX
       coordinator from investigation and failing to state a rationale for her
       decision-making.
      (v) Defendant Rush dismissing Mr. Whitaker's counterclaim without an
       investigation, or a hearing, and not stating a rationale;
      (vi) Angelica Hardison telling Mr. Whitaker that he would not even know
       if they charged Jane Roe for violating the no-contact order; and
      (vii) Defendant Thurman omitted information that Mr. Whitaker gave to
       her from her report and admitted to doing so by email on January 17,2017,
       yet informed the hearing panel that she did not.
       (viii) Defendant Thurman switched regarding the no-contact order after
       Jane Roe had violated it by stating that it was okay to speak during class
       when the no-contact order stated it was not.



                               COUNT TWENTY-TWO
                               ABUSE OF PROCESS
                        (Against Defendant Board of Regents)

       314.     Plaintiff repeats and realleges each and every allegation hereinabove
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as iffully set forth herein.

      315.    Defendants attempted to coerce Mr. Whitaker into obtaining medical

documentation to be removed from the biology course without penalty as a

tradeoff for not reporting the professor for neglecting to change the lab groups.

Mr. Whitaker refused and stated he would report them. Soon after, Title IX

personnel charged him with sexual harassment that was not supported by a

rationale and was dismissed at the hearing. Additional acts by Title IX personnel

include:


      (i) Defendant Thurman ending Mr. Whitaker's meeting with him after he
       reported the professor failing to change the lab groups;
      (ii) Defendant Thurman exposing Mr. Whitaker's email for the professor
       to see without his consent;
       (iii) Defendant Thurman not interviewing all of Mr. Whitaker's witnesses;
      (iv) Defendant Thurman including a previous, and unrelated, allegation
      against Mr. Whitaker without his consent, as required in the handbook;
      (v) The professor ignoring Jane Roe's violation ofthe no-contact order
       during class;
      (vi) Defendant Reed's cell phone going missing after telling Mr. Whitaker
       that she could recover their text message correspondence concerning the lab
       groups and then stating during the hearing that she could not do so;
       (vii) Defendant Reed ignoring Mr. Whitaker's report of retaliation against
       her;




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      (viii) Defendant Reed telling Mr. Whitaker that not responding to the
      investigation report meant that she would go by what was written in the
      report against him, despite the handbook reading otherwise;
      (ix) The bias investigator, Defendant Woods, not finding bias with the
      investigator or the Title IX coordinator without a rationale or analysis ofthe
      facts and refusing to recuse herself due to the partnership between Augusta
      University and East Georgia State College, which presented a conflict of
      interest;

      (x) The false statements by Jane Roe,the investigator, and the Title IX
      coordinator, being unaddressed by the hearing panel and ignored via emails
      from Mr. Whitaker;
      (xi) Defendant Rush dismissing Mr. Whitaker's counterclaim without a
      rationale, investigator, or a hearing;
      (xii) Defendant Rush attempting to have Mr. Whitaker's advisor violate the
       policy by speaking during meetings.
      (xiii) Angelica Hardison telling Mr. Whitaker that he would not even know
       if they charged Jane Roe for violating the no-contact order.
                                COUNT TWENTY-THREE
                                 DEFAMATION PER SE
                        (Against Defendant Board of Regents)

       316. Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.
       317.    After the hearing. Defendant Rush stated that the professor told him

that she had concerns that Mr. Whitaker was 'riding by her house.' Mr. Whitaker's

advisor, Deborah Collier, and Defendant Rush's employee, Angelica Hardison,

were present at the meeting on September 5, 2017, when the allegation was made.

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The professor, Defendant Wear, never stated that she felt any apprehension

towards Mr. Whitaker during the hearing, in which he called and questioned her as

a witness.



                                COUNT TWENTY-FOUR
               TORTIOUS INTERFERENCE WITH CONTRACT
                        (Against Defendant Board of Regents)

       318.    Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       319.    Defendants denied Mr. Whitaker the benefits and protections offered

in their grievance policies by:

      (i) Defendant Rush dismissing Mr. Whitaker's counterclaim without an
       investigation, or a hearing, and telling him,"If you're gonna sue us, sue us,"
      "I don't think your divorce has anything, necessarily, to do with this case,"
      "Okay, get real. Really? Please, do me a favor, get real. Um,if you have
       fifty questions you wanna ask me,do me a favor--, and we're gonna end this
       meeting now because I get to do that," "It's the biggest issue for you, right
       now, in your life. It's not necessarily my biggest issue, right now," and
       telling him,"Whatever rights you have, please go forward. Godspeed. Do
       it.";
       (ii) Defendant Reed ignoring Mr. Whitaker's report of retaliation against
       her;
       (iii) Defendant Reed telling Mr. Whitaker that she could recover their text
       message correspondence and then telling him that her cell phone was
       missing and that she could not recover the text messages at the hearing; and

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      (iv) False statements made by Jane Roe,the investigator, and the Title IX
      coordinator, were unaddressed by the hearing panel and the emails that Mr.
       Whitaker sent were ignored; and
      (v) Defendant Thurman omitted information that Mr. Whitaker gave to her
      from her report and admitted to doing so by email on January 17, 2017, yet
      informed the hearing panel that she did not.

                                COUNT TWENTY-FIVE
  INVASION OF PRIVACY(VIOLATION OF CONFIDENTIALITY AND
                                   FALSE LIGHT)
                        (Against Defendant Board of Regents)

       320.    Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       321.    Defendants violated Mr. Whitaker's privacy and confidentiality by:

      (i) Defendant Thurman exposed Mr. Whitaker's emails for the professor
       to read while he was enrolled in the course and the investigation was open;
      (ii) Defendant Thurman included a previous, and unrelated, allegation
       against Mr. Whitaker in which he was never charged or investigated for;
      (iii) Defendant Thurman told third parties that Jane Roe shared that Mr.
       Whitaker would look at her during class, yet told Mr. Whitaker that
       reporting the the professor looked at him differently was not evidence;
      (iv) Defendant Thurman included Mr. Whitaker's home address and phone
       number on the first page ofthe investigation report and removed from the
       second one after it had already been released to Jane Roe;
      (v) Defendant Thurman stated that Mr. Whitaker admitted to giving Jane
       Roe a massage during the hearing with no evidence; and



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      (vi) Defendant Thuiman omitted information that Mr. Whitaker gave to her
      from her report and admitted to doing so by email on January 17, 2017, yet
      informed the hearing panel that she did not.

                                 COUNT TWENTY-SIX
                                   HARASSMENT
                        (Against Defendant Board of Regents)

       322.    Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       323.    Defendant's allowed Jane Roe to violate the no-contact order three

times and did not charge her for doing so, stating that ifthey did charge her, Mr.

Whitaker would not be made aware and that she was out ofthe university's

jurisdiction because she had graduated. After the violations were committed and

the professor failed to change the lab groups, Mr. Whitaker dropped out ofthe

course due to anxiety.


                                COUNT TWENTY-SEVEN
                                    COERCION
                        (Against Defendant Board of Regents)

       324.    Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       325.    Defendant Thurman, Defendant Reed, and Defendant Rush coerced

Mr. Whitaker to obtain medical documentation to give to the investigator in order

to be removed from the biology course as a tradeofffor not reporting that the

professor failed to change the lab groups and failing to respond to Jane Roe
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continuing to speak to him after the no-contact order had been issued. When Mr.

Whitaker refused and stated that he would report them for bias, he was charged

with sexual harassment with no rationale in an investigation report that was

backdated to a date before his report of bias. The charge was later dismissed by a

hearing panel.


                                COUNT TWENTY-EIGHT
                          TAMPERING WITH RECORDS
                        (Against Defendant Board ofRegents)

       326. Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       327.    Defendant Thurman altered her investigation report after Mr.

Whitaker submitted a challenge for bias against her by backdating the report to

reflect a date before his challenge for bias was sent. Defendant Reed attempted to

use the backdated report against Mr. Whitaker and told him that his challenge for

bias was too late because it came after her report was sent out. Mr. Whitaker sent

his challenge for bias on December 9, 2016, yet Defendant Thurman's report was

sent on December 19,2016 and backdated to reflect November 28, 2016.

Furthermore, Defendant Thurman altered the content of her second report without

Mr. Whitaker's consent, or foreknowledge, after the challenge for bias had been

initiated so that the bias investigator. Defendant Woods, would rely on the updated

report and not the original one that Mr. Whitaker reported instances of bias for.

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                                COUNT TWENTY-NINE
                            FALSIFYING DOCUMENTS
                        (Against Defendant Board of Regents)

       328.    Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       329.    Defendant Thurman included information in her investigation report

regarding the professor changing the lab groups that she told Mr. Whitaker she

could not in the investigation, backdated the report, and stated that Jane Roe

requested for the lab groups to be changed, when Mr. Whitaker made the request

on the day offinding out about the allegation against him. Email correspondence

and the professor collaborated Mr. Whitaker's request on the day ofthe hearing.

                                  COUNT THIRTY
               MISREPRESENTATION AND NONDISCLOSURE
                        (Against Defendant Board of Regents)

       330. Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       331.    Defendants Board of Regents did not disclose information during the

investigation that affected the outcome ofthe process in that:

       (i) Augusta University officials did not disclose the partnership between
       Augusta University and East Georgia State College before selecting
       Defendant Woods to investigate Mr. Whitaker's claims of bias from the
       investigator and Title IX coordinator; of which Defendant Woods from East
       Georgia State College did not find bias or include a rationale for her

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  decision-making. The partnership was renewed on September 20, 2017 for
  five years and Defendant Woods made her decision on March 23, 2017;
  (ii) Defendant Woods, and Augusta University officials, telling Mr.
  Whitaker that they would provide him with information on how Defendant
  Woods reached her decision and never doing so;
  (iii) Defendant Thurman including information about the lab groups in her
  report after informing Mr. Whitaker that she was not going to do so via
  email (that it was outside the scope ofthe investigation);
  (iv) Defendant Byrdsong stating that he was assigned to investigate Mr.
  Whitaker's counterclaim without informing him that he was not a full-time
  investigator working apart from the Title IX coordinator and then leaving the
  university without informing Mr. Whitaker that he had abandoned him
  counterclaim;
  (v) Defendant Rush stating that he was a Title IX coordinator when he
  serves as general counsel as a lawyer for Augusta University and Defendant
   Reed is the only recognized Title IX coordinator at the university;
  (vi) Defendant Thurman and Defendant Reed misrepresented Mr. Whitaker
   during the hearing by giving false statements to the hearing panel that he did
   not know were going to be said against him; and
  (vii) Defendant Thurman omitted information that Mr. Whitaker gave to her
  from her report and admitted to doing so by email on January 17, 2017, yet
   informed the hearing panel that she did not.
  (viii) Defendant Thurman switched regarding the no-contact order after Jane
   Roe had violated it by stating that it was okay to speak during class when the
   no-contact order stated it was not.


                         COUNT THIRTY-ONE


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 CONSPIRACY AGAINST RIGHTS IN VIOLATION OF 42 U.S.C.§ 1985
                       (Against Defendant Board of Regents)

      332. Plaintiff repeats and realleges each and every allegation hereinabove
as iffully set forth herein.

      333.    Defendants conspired against Mr. Whitaker's educational rights by:

      (i) Defendant Thurman, Defendant Reed, and Defendant Rush attempted to
       have Mr. Whitaker obtain medical documentation to give the investigator,
      Defendant Thurman, as a tradeoff for not reporting the professor for failing
      to change the lab groups and stop Jane Roe from speaking to him during
       class after the no-contact order have been issued. After the meeting, Mr.
       Whitaker wrote that he would be reporting them and they soon after charged
       him with sexual harassment without a rationale which was thrown out by a
       university hearing panel.
      (ii) Defendant Woods was selected from East Georgia State College and
       did not disclose to Mr. Whitaker that they had a partnership with Augusta
       University. Defendant Woods did not find bias with the investigator, or the
       Title IX coordinator, and never wrote back to Mr. Whitaker how she reached
       her decision after promising to do so, along with Augusta University
       officials assuring him that she would.
       (iii) Defendant Rush and his employee, Angelica Hardison, denied Mr.
       Whitaker an investigation and a hearing by dismissing his counterclaim
       against Jane Roe for violating the no-contact order without stating why.
       Defendant Rush stated that Jane Roe was out of the university's jurisdiction
       because she had graduated, but the policy stated that she was not. Angelica
       Hardison told Mr. Whitaker that ifthey did charge Jane Roe for violating the
       no-contact order, they would not inform him.

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                                COUNT THIRTY-TWO
                        DECEPTIVE TRADE PRACTICES
                        (Against Defendant Board of Regents)

       334.    Plaintiff repeats and realleges each and every allegation hereinabove

as if fully set forth herein.

       335.    Defendants committed the act of deceptive trade practices by:

      (i)     Defendant Thurman backdating her investigation report;
      (ii)    Defendant Thurman refusing to charge Jane Roe with violating the no-
       contact order, yet the directive stated that no contact was allowed even
       during class;
       (iii) Defendants not giving Mr. Whitaker a fair and impartial investigation
       by assigning personnel with conflicts of interest;
      (iv) Defendant Thurman omitted information that Mr. Whitaker presented;
      (v) Jane Roe,Defendant Thurman, and Defendant Reed gave false
       statements at the hearing that were not addressed;
       (vi) Defendant Thurman did not interview all of Mr. Whitaker's witnesses;
       (vii) Augusta University assigned Defendant Woods from East Georgia
       State College to investigate Mr. Whitaker's challenge for bias despite the
       partnership between the two universities;
       (viii) Defendant Byrdsong not being a full-time Title IX investigator and
       abandoning Mr. Whitaker's counterclaim by leaving the university while
       under investigation;
       (ix) Defendant Rush told Mr. Whitaker that he was a Title IX coordinator
       when he was not;
       (x) Defendant Rush stating that the professor was concerned that Mr.
       Whitaker was driving by her house without any evidence;
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      (xi) Defendant Rush stating that Mr. Whitaker's counterclaim was not
      investigated because they wanted to wait until Jane Roe's was finished;
      (xii) Defendant Rush telling Mr. Whitaker that Jane Roe was out ofthe
      university's jurisdiction because she had graduated, yet the handbook stated
      that she was not; and
      (xiii) Angelica Hardison telling Mr. Whitaker that he would not be informed
      if they did decide to charge Jane Roe with violating the no-contact order.


                                COUNT THIRTY-THREE
VIOLATION OF THE GEORGIA ADMINISTRATIVE PROCEDURE ACT
                        (Against Defendant Board of Regents)

       336.    Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.
       337.    Defendants violated the Georgia Administrative Procedure Act by:
      (i) Assigning Title IX personnel with conflicts of interest to Mr.
       Whitaker's investigation;
      (ii) Defendant Woods not providing a rationale for her decision-making;
       and

      (iii) Augusta University officials refusing to investigate Mr. Whitaker's
       counterclaim against Jane Roe and provide him with a hearing.


                                COUNT THIRTY-FOUR
             VIOLATION OF THE GEORGIA OPEN RECORDS ACT
                        (Against Defendant Board of Regents)

       338.    Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.



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      339.     Augusta University did not provide Mr. Whitaker with the training

records and certifications oftheir Title IX personnel upon request; their response

was that they did not keep those types of records on file. However,East Georgia

State University was able to provide the training records and certifications for

Defendant Woods for 2016 and 2017.




                                COUNT THIRTY-FIVE
VIOLATION OF DUE PROCESS,EQUAL PROTECTION,AND PRIVACY
                   UNDER THE GEORGIA CONSTITUTION
                        (Against Defendant Board of Regents)

       340. Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       341.    Defendants did not provide Mr. Whitaker with procedural and

substantive due process by dismissing his counterclaim, omitting information for

their reports, not interviewing all of his witnesses, and assigning Title IX personnel

with conflicts of interest. Mr. Whitaker was denied equal protection because Jane

Roe was allowed to violate the no-contact order and not receive discipline for it.

Mr. Whitaker's privacy rights were violated because the investigator exposed his

emails for the professor to see and included his address and phone number on the

first page of her investigation report that was sent to Jane Roe after she threatened

that her boyfriend would come to talk to him in a written statement.


                                COUNT THIRTY-SIX


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          NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                        (Against Defendant Board of Regents)

      342.     Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       343.    Defendants neglected to ensure that Mr. Whitaker received a fair and

impartial investigation free from conflicts of interest and to prevent Jane Roe from

violating the no-contact order. Due to the university's negligence, Mr. Whitaker

failed his biology course and withdrew from the university to seek counseling.


                                COUNT THIRTY-SEVEN
         INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                        (Against Defendant Board of Regents)

       344. Plaintiff repeats and realleges each and every allegation hereinabove
as if fully set forth herein.

       345.    Defendants refused to charge Jane Roe with violating the no-contact

order, gave false statements during the hearing, and made statements to Mr.

Whitaker after the hearing such as,"If you're gonna sue us, sue us,""I don't think

your divorce has anything, necessarily, to do with this case,""Okay, get real.

Really? Please, do me a favor, get real. Um,if you have fifty questions you wanna

ask me, do me a favor—, and we're gonna end this meeting now because I get to do

that," "It's the biggest issue for you, right now, in your life. It's not necessarily my

biggest issue, right now," and telling him,"Whatever rights you have, please go


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forward. Godspeed. Do it." Mr. Whitaker withdrew from the university and

sought counseling regarding his experience throughout the investigation.


                           VI.PRAYER FOR RELIEF


      WHEREFORE,for the foregoing reasons, Plaintiff demands judgment

against Defendants as follows:

      (i)    on the first cause of action for discrimination on the basis of gender in
violation of Title IX ofthe Education Amendments of 1972, ajudgment awarding
Plaintiff damages in an amount to be determined at trial, including, without
limitation, damages to physical well-being, emotional and psychological damages,
damages to reputation, past and future economic losses, loss of educational and
career opportunities, and loss offuture career prospects;

      (ii)   on the second cause of action for discrimination on the basis of race
and color in violation of Title VI ofthe Civil Rights Act of 1964, a judgment
awarding Plaintiff damages in an amount to be determined at trial, including,
without limitation, damages to physical well-being, emotional and psychological
damages, damages to reputation, past and future economic losses, loss of
educational and career opportunities, and loss offuture career prospects;

      (ill) on the third cause of action for violation of procedural and
substantive due process ofthe Fifth and Fourteenth amendment to the United
States Constitution, ajudgment awarding Plaintiff damages in an amount to be
determined at trial, including, without limitation, damages to physical well-being,
emotional and psychological damages, damages to reputation, past and future
economic losses, loss of educational and career opportunities, and loss offuture
career prospects;

      (iv) on the fourth cause of action for violation ofthe equal protection
clause ofthe Fourteenth amendment ofthe United States Constitution,a judgment
awarding Plaintiff damages in an amount to be determined at trial, including,
without limitation, damages to physical well-being, emotional and psychological
damages, damages to reputation, past and future economic losses, loss of
educational and career opportunities, and loss offuture career prospects;

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      (v) on the fifth cause of action for retaliation in violation ofthe First
Amendment ofthe United States Constitution, ajudgment awarding Plaintiff
damages in an amount to be determined at trial, including, without limitation,
damages to physical well-being, emotional and psychological damages, damages to
reputation, past and future economic losses, loss of educational and career
opportunities, and loss offuture career prospects;

      (vi) on the sixth cause of action for violation ofthe right against self-
incrimination clause ofthe Fifth amendment to the United States Constitution, a
judgment awarding Plaintiff damages in an amount to be determined at trial,
including, without limitation, damages to physical well-being, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss of educational and career opportunities, and loss offuture career prospects;

      (vii) on the seventh cause of action for breach of contract, ajudgment
awarding Plaintiff damages in an amount to be determined at trial, including,
without limitation, damages to physical well-being, emotional and psychological
damages, damages to reputation, past and future economic losses, loss of
educational and career opportunities, and loss offuture career prospects;

      (viii) on the eighth cause of action for breach of covenant of good faith
and fair dealing, ajudgment awarding Plaintiff damages in an amount to be
determined at trial, including, without limitation, damages to physical well-being,
emotional and psychological damages, damages to reputation, past and future
economic losses, loss of educational and career opportunities, and loss offuture
career prospects;

      (ix) on the ninth cause of action for negligence, ajudgment awarding
Plaintiff damages in an amount to be determined at trial, including, without
limitation, damages to physical wellbeing, emotional and psychological damages,
damages to reputation, past and future economic losses, loss ofeducational and
career opportunities, and loss offuture career prospects;

     (x) on the tenth cause of action for negligence per se, ajudgment
awarding Plaintiff damages in an amount to be determined at trial, including,
without limitation, damages to physical wellbeing, emotional and psychological
damages, damages to reputation, past and future economic losses, loss of
educational and career opportunities, and loss offuture career prospects;

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      (xi) on the eleventh cause of action for fraud, a judgment awarding
Plaintiff damages in an amount to be determined at trial, including, without
limitation, damages to physical wellbeing, emotional and psychological damages,
damages to reputation, past and future economic losses, loss ofeducational and
career opportunities, and loss offuture career prospects;

      (xii) on the twelfth cause of action for conflict of interest, ajudgment
awarding Plaintiff damages in an amount to be determined at trial, including,
without limitation, damages to physical wellbeing, emotional and psychological
damages, damages to reputation, past and future economic losses, loss of
educational and career opportunities, and loss offuture career prospects;

       (xiii) on the thirteenth cause of action for negligent hiring, training, and
supervision, a judgment awarding Plaintiff damages in an amount to be determined
at trial, including, without limitation, damages to physical wellbeing, emotional
and psychological damages, damages to reputation, past and future economic
losses, loss of educational and career opportunities, and loss offuture career
prospects;

      (xiv) on the fourteenth cause of action for breach ofcontract/common
law: denial of basic fairness/arbitrary and capricious decision making, a judgment
awarding Plaintiff damages in an amount to be determined at trial, including,
without limitation, damages to physical wellbeing, emotional and psychological
damages, damages to reputation, past and future economic losses, loss of
educational and career opportunities, and loss offuture career prospects;

      (xv) on the fifteenth cause of action for deliberate indifference, a
judgment awarding Plaintiff damages in an amount to be determined at trial,
including, without limitation, damages to physical wellbeing, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss of educational and career opportunities, and loss offuture career prospects;

      (xvi)     on the sixteenth cause of action for hostile environment, a
judgment awarding Plaintiff damages in an amount to be determined at trial,
including, without limitation, damages to physical wellbeing, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss of educational and career opportunities, and loss offuture career prospects;

      (xvii)    on the seventeenth cause of action for erroneous outcome, a
judgment awarding Plaintiff damages in an amount to be determined at trial,
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including, without limitation, damages to physical wellbeing, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss of educational and career opportunities, and loss offuture career prospects;

        (xviii) on the eighteenth cause of action for promissory estoppel and
reliance, a judgment awarding Plaintiff damages in an amount to be determined at
trial, including, without limitation, damages to physical wellbeing, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss of educational and career opportunities, and loss offuture career prospects;

     (xix) on the nineteenth cause of action for selective enforcement, a
judgment awarding Plaintiff damages in an amount to be determined at trial,
including, without limitation, damages to physical wellbeing, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss ofeducational and career opportunities, and loss offuture career prospects;

      (xx) on the twentieth cause of action for malicious prosecution, a
judgment awarding Plaintiff damages in an amount to be determined at trial,
including, without limitation, damages to physical wellbeing, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss of educational and career opportunities, and loss offuture career prospects;

      (xxi) on the twenty-first cause of action for abuse of discretion, a
judgment awarding Plaintiff damages in an amount to be determined at trial,
including, without limitation, damages to physical wellbeing, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss of educational and career opportunities, and loss offuture career prospects;

      (xxii) on the twenty-second cause of action for abuse of process, a
judgment awarding Plaintiff damages in an amount to be determined at trial,
including, without limitation, damages to physical wellbeing, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss of educational and career opportunities, and loss offuture career prospects;

      (xxiii) on the twenty-third cause of action for defamation per se, a
judgment awarding Plaintiff damages in an amount to be determined at trial,
including, without limitation, damages to physical wellbeing, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss of educational and career opportunities, and loss offuture career prospects;


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        (xxiv) on the twenty-fourth cause of action for tortious interference with
contract, ajudgment awarding Plaintiff damages in an amount to be determined at
trial, including, without limitation, damages to physical wellbeing, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss of educational and career opportunities, and loss offuture career prospects;

      (xxv) on the twenty-fiflh cause of action for invasion of privacy (violation
of confidentiality and false light), ajudgment awarding Plaintiff damages in an
amount to be determined at trial, including, without limitation, damages to physical
wellbeing, emotional and psychological damages, damages to reputation, past and
future economic losses, loss of educational and career opportunities, and loss of
future career prospects;

     (xxvi) on the twenty-sixth cause of action for harassment, ajudgment
awarding Plaintiff damages in an amount to be determined at trial, including,
without limitation, damages to physical wellbeing, emotional and psychological
damages, damages to reputation, past and future economic losses, loss of
educational and career opportunities, and loss offuture career prospects;

     (xxvii) on the twenty-seventh cause of action for coercion, ajudgment
awarding Plaintiff damages in an amount to be determined at trial, including,
without limitation, damages to physical wellbeing, emotional and psychological
damages, damages to reputation, past and future economic losses, loss of
educational and career opportunities, and loss offuture career prospects;

      (xxviii) on the twenty-eighth cause of action for tampering with records, a
judgment awarding Plaintiff damages in an amount to be determined at trial,
including, without limitation, damages to physical wellbeing, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss of educational and career opportunities, and loss offuture career prospects;

      (xxix) on the twenty-ninth cause of action for falsifying documents, a
judgment awarding Plaintiff damages in an amount to be determined at trial,
including, without limitation, damages to physical wellbeing, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss ofeducational and career opportunities, and loss offuture career prospects;

      (xxx) on the thirtieth cause of action for misrepresentation and
nondisclosure, ajudgment awarding Plaintiff damages in an amount to be
determined at trial, including, without limitation, damages to physical wellbeing,
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emotional and psychological damages, damages to reputation, past and future
economic losses, loss of educational and career opportunities, and loss offuture
career prospects;

      (xxxi) on the thirty-first cause of action for conspiracy against rights, a
judgment awarding Plaintiff damages in an amount to be determined at trial,
including, without limitation, damages to physical wellbeing, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss of educational and career opportunities, and loss offuture career prospects;

      (xxxii) on the thirty-second cause of action for deceptive trade practices, a
Judgment awarding Plaintiff damages in an amount to be determined at trial,
including, without limitation, damages to physical wellbeing, emotional and
psychological damages, damages to reputation, past and future economic losses,
loss of educational and career opportunities, and loss offuture career prospects;

      (xxxiii) on the thirty-third cause of action for violation ofthe Georgia
Administrative Procedure Act, ajudgment awarding Plaintiff damages in an
amount to be determined at trial, including, without limitation, damages to physical
wellbeing, emotional and psychological damages, damages to reputation, past and
future economic losses, loss of educational and career opportunities, and loss of
future career prospects;

     (xxxiv) on the thirty-fourth cause of action for violation ofthe Georgia
Open Records Act, ajudgment awarding Plaintiff damages in an amount to be
determined at trial, including, without limitation, damages to physical wellbeing,
emotional and psychological damages, damages to reputation, past and future
economic losses, loss of educational and career opportunities, and loss offuture
career prospects;

      (xxxv) on the thirty-fiflh cause of action for violation of due process,
equal protection, and privacy under the Georgia Constitution, ajudgment awarding
Plaintiff damages in an amount to be determined at trial, including, without
limitation, damages to physical wellbeing, emotional and psychological damages,
damages to reputation, past and future economic losses, loss of educational and
career opportunities, and loss offuture career prospects;

     (xxxvi) on the thirty-sixth cause of action for negligent infliction of
emotional distress, ajudgment awarding Plaintiff damages in an amount to be
determined at trial, including, without limitation, damages to physical wellbeing,
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emotional and psychological damages, damages to reputation, past and future
economic losses, loss of educational and career opportunities, and loss offuture
career prospects;

     (xxxvii) on the thirty-seventh cause of action for intentional infliction of
emotional distress ajudgment awarding Plaintiff damages in an amount to be
determined at trial, including, without limitation, damages to physical wellbeing,
emotional and psychological damages, damages to reputation, past and future
economic losses, loss of educational and career opportunities, and loss offuture
career prospects;

      (xxxviii) awarding Plaintiff a refund of his tuition and fees in the amount of
$3,378.67 that he paid and had to repay the portions contributed by the Veteran
Affairs (Post-9/11 GI Bill (Chapter 33)) and U.S. Army(tuition assistance);

      (xxxix) awarding Plaintiff declaratory relief by(1)entering a finding that
Defendant's sexual misconduct policy be found unconstitutional on the grounds of
incomplete guidance regarding the due process rights ofthe accused and (2)
entering a finding that Defendant violated Plaintiffs right to privacy and access to
hearing records under the Family Educational Rights and Privacy Act("FERPA")
(20 U.S.C. § 1232g; 34 CFR Part 99).

      (xl) awarding Plaintiff injunctive relief by(1)removing the failing grade
received in his macroeconomics course from his academic transcript;(2) ordering
Defendant Board of Regents to revise its sexual misconduct policy to include the
challenge for bias investigator including a written rationale behind their decision-
making and documentation of all interviews conducted;(3)ordering Defendant
Board of Regents to revise its sexual misconduct policy to state that investigator's
include a written rationale in their decision-making;(4)ordering Defendant Board
ofRegents to revise its sexual misconduct policy to preclude removing students
from academic activities and classes or placing holds on their accounts until they
respond to an allegation made against them;(5)ordering Defendant Board of
Regents to terminate the partnership established in 2013 between Augusta
University and East Georgia State College on the grounds of conflict of interest
due to the involvement ofDefendant Woods in the bias investigation;(6)ordering
Defendant Board ofRegents to require all Title IX coordinators and investigators
to function separately and independently from the influence of all other
departments at their institutions;(7)ordering Defendant Board ofRegents to
require readily-assessable documentation of all annual training of Title IX staff;
and (8)ordering Board of Regents to revise its sexual misconduct policy to include
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any persons adjudicating an investigation disclose any conflicts of interest at the
beginning of any investigation by informing all parties of any, and all, additional
job duties that may pose an actual, or potential, conflict of interest.

      (xli) awarding Plaintiff Court costs and filing fees;

      (xlii) awarding Plaintiff compensatory and punitive damages for the
conduct described herein; and

      (xliii) awarding Plaintiff such other and further relief as the Court deems
just, equitable, and proper.


                     VII. CERTIFICATION AND CLOSING


Under Federal Rule of Civil Procedure 11, by signing below, I, DeMarcus
Whitaker, certify to the best of my knowledge, information, and beliefthat this
complaint:(1)is not being presented for an improper purpose, such as to harass,
cause unnecessary delay, or needlessly increase the cost of litigation;(2)is
supported by existing law or by a non-frivolous argument for extending,
modifying, or reversing existing law;(3)the factual contentions have evidentiary
support or, if specifically so identified, will likely have evidentiary support after a
reasonable opportunity for further investigation or discovery; and(4)the complaint
otherwise complies with the requirements of Rule 11.

    A. I agree to provide the Clerk's Office with any changes to my address where
       case—related papers may be served. I understand that my failure to keep a
       current address on file with the Clerk's Office may result in the dismissal of
       my case.


                                  JURY DEMAND


Plaintiff herein demands a trial by jury of all issues so triable in the present matter.

Dated: August 31,2018

                           Respectfully submitted,


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                                       Plaintiff, Pro Se




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